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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

______________________________________________
                                               )
THE HONORABLE OTTO J. REICH and                )
OTTO REICH ASSOCIATES, LLC,                    )
                                               )
                              Plaintiffs,      )              Civ. No. 13 CV 5307
                                               )
                  v.                           )              Jury Trial Demanded
                                               )
LEOPOLDO ALEJANDRO BETANCOURT LOPEZ, )                        ECF CASE
PEDRO JOSE TREBBAU LOPEZ, and FRANCISCO )
D’AGOSTINO CASADO,                             )
                                               )
                              Defendants.      )
______________________________________________ )


                             FIRST AMENDED COMPLAINT

       Plaintiffs, the Honorable Otto J. Reich and Otto Reich Associates, LLC, by and through

their attorneys Smith Valliere PLLC, for their First Amended Complaint against Defendants

Leopoldo Alejandro Betancourt Lopez, Pedro Jose Trebbau Lopez, and Francisco D’Agostino

Casado, allege as follows:


                                NATURE OF THE ACTION

       1.     The Honorable Otto J. Reich (“Ambassador Reich”) is the former U.S.

Ambassador to Venezuela. Over his long and distinguished career, Ambassador Reich served in

prominent positions in the U.S. Department of State, focusing on Latin America and the

Caribbean. For his work as Ambassador, Reich was awarded the highest commendations of the

U.S. Department of State. Over his many decades of public service, Ambassador Reich focused

on the cultures of corruption that plague many governments in Latin America. In particular,
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Ambassador Reich has repeatedly spoken out against the corruption that flourished in Venezuela

under the regime of Hugo Chavez, which continues to exist today.

       2.      Since his retirement from government service in 2004, Ambassador Reich has

continued to publicly condemn corruption in Venezuela and around the world, and assist those

who believe, as he does, in democracy, transparent government, and the rule of law.

Ambassador Reich has written numerous articles, delivered speeches, and offered congressional

testimony throughout the United States on the problems facing many Latin American countries.

Through his company Otto Reich Associates, LLC (“ORA”), Ambassador Reich has also

consulted with a number of pro-democracy and anti-corruption organizations and individuals

throughout the United States, assisting them in their public relations and business efforts here

and abroad. Many of those individuals and organizations are based in the United States and are

vocal opponents of the current regime in Venezuela.

       3.      Defendants are U.S. residents who have amassed enormous fortunes through an

illicit scheme to secure energy-industry contracts in Venezuela for their various U.S.-based

companies, Derwick Associates USA LLC and Derwick Associates Corporation (together with

these companies’ predecessors, successors, assigns and affiliates, “Derwick Associates”).

Known in the press as the “ChavezKids,” “BoliBoys,” and “the mafiosi of the Fifth Republic,”

Defendants Leopoldo Alejandro Betancourt Lopez (“Betancourt”), Pedro Jose Trebbau Lopez

(“Trebbau”), and Francisco D’Agostino Casado (“D’Agostino) have profited wildly from their

ongoing illegal bribery scheme designed to exploit for their personal financial gain the corrupt

and anti-democratic Chavez regime.

       4.      Derwick Associates’ “business model” is simple. From their home base of

operations in the United States, Defendants offer multi-million dollar kickbacks to public




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officials in Venezuela in exchange for the award of energy-sector construction contracts. Once

the contracts are secured for themselves and Derwick Associates (and the money ultimately

transferred into bank accounts in New York), Defendants skim millions off the top, which they

deposit in U.S. banks. Defendants then subcontract out the actual work to be performed on site

to other U.S.-based companies, including one based in Missouri. Thus, Defendants’ primary and

ongoing business is improperly obtaining energy-sector contracts through bribery. Any

legitimate work done pursuant to those contracts is performed by others. Defendants run their

illegal scheme from their homes and offices in New York, through various agents, and through

their U.S.-based companies and relationships. Defendants secured their first contract in 2009

and continue to actively “court” Venezuelan and other government officials responsible for

awarding new contracts. Recently, Derwick Associates registered with the United States

government to engage in lobbying activities in the United States.

       5.      Defendants’ pattern of racketeering activity has been a huge financial boon to

Defendants Betancourt, Trebbau, and D’Agostino, all of whom enjoy lifestyles of extreme

wealth in the United States.

       6.      While rampant public corruption is a reality in Venezuela, not everyone stands

silent. In recent years, a number of respected individuals and institutions in the United States

have begun to speak out against the “ChavezKids” and their ilk, unwilling to allow the continued

fleecing of Venezuela. Fearing exposure, Defendants have taken extreme measures to conceal

their ongoing unlawful actions. Among other actions, Defendants have committed wire fraud,

while deploying abusive business practices, threats of lawsuits in U.S. courts, and other improper

means to silence their opponents. Defendants’ efforts in this regard send an unmistakable




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message of intimidation to anyone who might expose their illegal practices and alter the status

quo.

        7.      In September 2012, when Defendants became convinced that Banco Venezolano

de Credito S.A. (“Banco Venezolano”) was threatening to expose their criminal activities,

Derwick Associates and two of its principals, Betancourt and Trebbau, each individually, filed

related civil lawsuits for defamation in Florida and in New York against, among others, Banco

Venezolano. Banco Venezolano is one of the oldest and most respected banks in Venezuela,

which does business in the United States. The leaders of Banco Venezolano are known as vocal

critics of the Chavez regime – so much so that Banco Venezolano refuses to do business with the

Venezuelan government.

        8.      In the Florida lawsuit, Derwick Associates Corp., et al. v. Venezolano de Credito,

S.A., et al., No. 12-36297-CA-11 (Cir. Ct. 11th Dist. Miami-Dade Co.) (hereinafter, the “Florida

Defamation Suit”), Derwick Associates, Betancourt and Trebbau accused Banco Venezolano, its

President and Board Chairman Oscar Garcia Mendoza, and others of defaming Derwick

Associates by financing an anti-Chavez, anti-Derwick website, thus allegedly damaging

Defendants’ reputation. In sum and substance, the “anti-Derwick” statements posted on the

Internet and purportedly repeated in various news outlets attacked Defendants’ youth and

inexperience and accused them of illegally amassing enormous fortunes arising from their

obscene and illegal business arrangements with the Venezuelan government. The Florida and

New York defamation suits were commenced as an effort to quell the public uprising against

Defendants’ corrupt activities. Tellingly, Defendants did not commence suit in Venezuela but,

rather, in the United States, thus facilitating the rapid spread of information about their lawsuit

via the Internet.




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       9.      In the Florida Defamation Suit, Defendants sought the outrageous sum of $300

million, a clear effort to bully the bank into quiescence, prevent others from threatening to

expose their scheme, and provide comfort to Defendants’ New York bankers and money

managers who had undoubtedly heard the allegations that were the subject of the Florida

Defamation Suit and were presumably growing worried about holding Defendants’ funds and

accounts.

       10.     To Defendants’ surprise, Banco Venezolano fought the Florida Defamation Suit

vigorously. Soon after that lawsuit was commenced, the bank sought immediate discovery

including the deposition of a representative of Derwick Associates concerning its allegations of

wrongful conduct, namely, the alleged defamatory statements. That deposition was scheduled to

occur on December 19, 2012, but no representative of Derwick Associates appeared for the

deposition. Instead, Derwick Associates moved for a stay of discovery and protective order.

Needless to say, it is atypical for an earnest plaintiff to seek to stay discovery and thus

intentionally delay its opportunity to prove its case.

       11.     When Defendants learned that Banco Venezolano sought to retain Ambassador

Reich and his U.S.-based consultancy, ORA, to, among other things, help defend against

Defendants’ allegations in the Florida Defamation Suit, Defendants reacted by committing

multiple acts of wire fraud in an attempt to prevent the disclosure and termination of their illegal

conspiracy.

       12.     Ambassador Reich’s potential engagement by Banco Venezolano was a direct

threat to Defendants’ then-existing, multi-year and ongoing pattern of racketeering as well as

their related campaign of intimidation against Banco Venezolano (and others). The union of a

respected financial institution, on the one hand, and a highly-regarded and well-connected former




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U.S. government official, on the other hand, both of whom had spent decades rallying against the

corrupt status quo in Venezuela and the foreigners who benefited therefrom, posed an immediate

threat of revealing Defendants’ unlawful activities. Defendants understood the significance of a

business alliance between Banco Venezolano and Ambassador Reich, which Defendants feared

might reveal the unholy alliance between Defendants and certain Venezuelan government

officials. Given the actual and perceived risk of exposure, Defendants embarked upon an

unlawful effort to drive a wedge between Banco Venezolano and Ambassador Reich.

Defendants Betancourt, Trebbau, and D’Agostino conspired to discredit Ambassador Reich in

the eyes of Banco Venezolano in the most effective way they knew how – tying Ambassador

Reich to Derwick Associates.

       13.     In a series of telephone calls placed from or caused to be placed from New York

in late 2012, Defendants and their agents (at Defendants’ direction) fraudulently told officials of

Banco Venezolano and others in the small Venezuelan émigré community in the U.S. that

Ambassador Reich was working for Derwick Associates. That was blatantly false and was

known by Defendants to be false.

       14.     Nevertheless, the fraud worked. Once Banco Venezolano heard that its potential

consultant was working for the people who were suing it (and who had profited from the corrupt

Chavez regime), Banco Venezolano pulled out of its agreement with ORA. At the same time,

another client of ORA, a well-regarded U.S.-based businessman named Eligio Cedeño

(“Cedeño”) (who himself has long been an enemy of the corrupt Chavez regime) also terminated

his contractual and financial relationship with ORA. Cedeño, like the bank, had also been told

(falsely) by Defendants that Ambassador Reich was working for Derwick Associates, including

in connection with a project in Panama. Taken together, the loss of those agreements and




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business relationships cost Plaintiffs a substantial amount of money and property. Additionally,

Defendants tarnished the reputation of an American citizen who has spent decades decrying

corrupt business practices of individuals like Betancourt, Trebbau and D’Agostino.

       15.     Defendants’ scheme to bribe foreign public officials from their lap of luxury in

the United States, and cover up their actions here in the United States, violates federal law,

specifically the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§

1961 et seq. Defendants engaged in a pattern of racketeering activity that violated, among other

laws, the Travel Act, 18 U.S.C. § 1952(a) and (b), the Foreign Corrupt Practices Act, 15 U.S.C. §

78dd-1, and the federal wire fraud statute, 18 U.S.C. § 1343. Defendants’ racketeering activity is

ongoing.

       16.     Defendants’ actions also constitute a violation of various state laws. Defendants

intentionally targeted ORA and specifically sought to deprive Ambassador Reich and ORA of

their business property and cash through a fraudulent scheme designed to perpetrate lies about

Ambassador Reich and ORA, thereby interfering with and destroying Plaintiffs’ U.S.-based and

U.S.-focused business arrangements with Banco Venezolano and Eligio Cedeño. Defendants’

willful and fraudulent actions have caused substantial damage to Ambassador Reich’s and

ORA’s business and property.


                                 JURISDICTION AND VENUE

       17.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction); 28 U.S.C. § 1332 (diversity jurisdiction); and 18 U.S.C. § 1964 (Racketeer

Influenced and Corrupt Organizations Act). The amount in controversy here exceeds $75,000.

       18.     Further, pursuant to 18 U.S.C. § 1965(b), the ends of justice require that the Court

exercise personal jurisdiction over any Defendant who claims not to have contacts with this



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forum. Defendants engaged in a multi-district conspiracy to defraud and discredit Ambassador

Reich. This Court has personal jurisdiction over most, if not all, of the alleged co-conspirators,

and each and every one of the alleged co-conspirators here has previously availed themselves of

the courts in New York to vindicate their legal rights.

        19.      This Court has supplemental jurisdiction over the state causes of action pursuant

to 28 U.S.C. § 1367(a), as those state law causes of action arise out of the same nucleus of

operative facts, which support the federal claims.

        20.      Venue is proper in the Southern District of New York under 18 U.S.C. § 1965 and

28 U.S.C. § 1391, in that each Defendant owns property, conducted business, and/or has been

found in the Southern District of New York during the relevant time periods. A substantial

portion of the communications, transactions, and events underlying Plaintiffs’ claims occurred in

this judicial district.


                                              PARTIES

Plaintiffs Otto J. Reich and Otto Reich Associates, LLC

        21.      Plaintiff Otto J. Reich is a citizen of the United States. He is domiciled in the

State of Virginia.

        22.      Plaintiff ORA is a Virginia limited liability company with its principal place of

business located at 1001 Pennsylvania Avenue, 11th Floor, Washington, DC. ORA regularly

conducts business in the United States including in New York, Florida, Maryland and Virginia.

ORA and Ambassador Reich regularly conduct business in the Southern District of New York,

and conducted business in this judicial district during the relevant time periods as described in

this First Amended Complaint. Ambassador Reich is the founder and principal of ORA.

Ambassador Reich is and always has been the sole owner and member of ORA.



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        23.   At all relevant times, Plaintiffs were “persons” within the meaning of that term as

defined by 18 U.S.C. § 1961(3).

Defendants Betancourt, Trebbau, and D’Agostino

        24.   Defendant Leopoldo Alejandro Betancourt Lopez (“Betancourt”) is a citizen of

Venezuela who resides primarily in the United States. Betancourt was born in February 1980

and is 33 years old. He is a graduate of Suffolk University in Boston, Massachusetts. On the

date of the first energy contract awarded to Derwick Associates, Betancourt was only 29 years

old.

        25.   Upon information and belief, during the relevant time period, Betancourt owned a

home located at the famous Olympic Tower, 641 Fifth Avenue, Penthouse 6, New York, New

York 10022, where he continues to reside today. Betancourt also, upon information and belief,

owns real and other property in Florida. Upon information and belief, during the relevant time

period (and continuing today), Betancourt regularly conducted business from New York,

including from his home in New York and offices located at 450 Park Avenue, New York, New

York 10022.

        26.   Defendant Pedro Jose Trebbau Lopez (“Trebbau”) is a citizen of Venezuela who

resides primarily in the United States. Trebbau was born in September 1983 and is 30 years old.

He is a graduate of Boston College in Massachusetts. On the date of the first energy contract

awarded to Derwick Associates, Trebbau was only 26 years old.

        27.   Upon information and belief, during the relevant time period (and continuing

today), Trebbau regularly conducted business from New York, including from offices located at

450 Park Avenue, New York, New York 10022. During the relevant time period (and continuing

today), Trebbau owned property in Florida.




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       28.     Defendant Francisco D’Agostino Casado (“D’Agostino”) is a dual citizen of

Venezuela and Spain who resides primarily in New York, New York. D’Agostino graduated

from Boston College in Massachusetts. Upon information and belief, during the relevant time

period (and continuing today), D’Agostino owned a home located at 82 Elm Street,

Southampton, New York 11968. Upon information and belief, D’Agostino currently resides at

10 East 75th Street, New York, New York 10021 and formerly resided in the Penthouse

Apartment at 807 Park Avenue, New York, New York.

       29.     During the relevant time period (and continuing today), D’Agostino regularly

conducted business from New York. Upon information and belief, D’Agostino conducted

business in New York from his homes in New York and from offices located at 450 Park

Avenue, New York, New York 10022. According to a U.S. Securities and Exchange

Commission filing, D’Agostino is the owner of a U.S. investment company with offices in New

York City.

Defendants are Subject to Jurisdiction in New York

       30.     This Court has personal jurisdiction over Defendant D’Agostino, who resides in

New York, and who was served personally with the Summons and Complaint (the “Original

Complaint”) in this action at his home located at 82 Elm Street, Southampton, New York. As

long as this Court has personal jurisdiction over any one Defendant, it has jurisdiction over each

other Defendant alleged to be part of the RICO conspiracy.

       31.     Defendant Betancourt only evaded personal service in New York as a result of his

quick-thinking doorman. When the professional process server attempted to serve him at his 641

Fifth Avenue residence on July 31, 2013, the doorman admitted that Defendant Betancourt “was

home.” Only after discovering that the process server was there to serve legal papers, did the




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doorman say that Betancourt was “not home.” Betancourt’s longtime New York corporate

counsel, who is located in Manhattan, subsequently accepted service on Betancourt’s behalf.

        32.      Even absent personal service on D’Agostino, Defendants have minimum contacts

with New York sufficient to subject them to general jurisdiction in this forum. As detailed more

fully below, each Defendant owns property, conducts business, and/or has been found in New

York during the relevant time periods. New York is also where a substantial portion of the

communications, transactions, and events underlying Plaintiffs’ lawsuit occurred. Each

Defendant has engaged in a continuous and systematic course of doing business in this forum.

        33.      Defendants are also subject to specific jurisdiction in this forum for many reasons,

not the least of which is that each Defendant and/or his agent has purposefully availed himself of

the privilege of transacting business within the state.

        34.      Indeed, Defendants should reasonably expect to be haled into court in this forum

having invoked the benefits and protections of the New York courts and New York State laws.1

On September 24, 2012, less than two weeks after commencing the Florida Defamation Suit,

Defendants Betancourt and Trebbau and Derwick Associates commenced a related litigation in

New York State court alleging, among other things, claims for defamation like in the Florida

Defamation Suit. See Derwick Associates Corp., et al. v. John Does 1-10 (Supreme Court of the



1
          D’Agostino is no stranger to the New York courts. In D’Agostino v. 813 Park Avenue Holdings, LLC, et
al. (Supreme Court of the State of New York, County of New York), Index No. 160750/13 (the “Park Avenue
Action”), D’Agostino is currently seeking over $325,000 plus treble damages and attorneys’ fees concerning a lease
dispute over his former penthouse residence at 807 Park Avenue, New York, New York. D’Agostino is being
represented by New York lawyer Lawrence E. Fabian (“Fabian’) who has represented and presumably been paid by
D’Agostino in the Park Avenue Action and various other suits over the last six years. It has been reported that, on
or about October 2007, Fabian represented D’Agostino in a $100,000 breach of contract action arising from
D’Agostino’s lease of a waterfront home in Sag Harbor, New York. D’Agostino also availed himself of the
jurisdiction of this Court in D’Agostino v. American Express Centurion Services Corp. (United States District Court
for the Southern District of New York), Civ. No. 09 CV 4683, where he alleged violations of the federal Truth in
Lending Act arising from an alleged improper charge of $65,000 on D’Agostino’s American Express Centurion
Card (also known as the “AmEx Black Card,” which is reportedly one of the most exclusive charge cards in the
world). Fabian represented D’Agostino in that lawsuit.


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State of New York, County of New York), Index No. 653345/12 (hereafter, the “New York

Defamation Suit”). That action was brought against “John Does 1-10” who were defined as

“unknown defendant co-conspirators [of the bank defendants in the Florida Defamation Suit]

who participated in the conspiracy and campaign to disseminate false and defamatory

information about” Betancourt, Trebbau and Derwick Associates. Like the Florida Defamation

Suit, the New York Defamation Suit sought damages for “egregiously false and defamatory

statements” allegedly posted by those defendants and that were “intended to … destroy

[Betancourt, Trebbau and Derwick Associates’] current and prospective business and banking

relationships, which are indispensable to the operation, expansion and success of Derwick.”

          35.   Plaintiffs’ claims here put squarely at issue Defendants’ allegedly unlawful

business practices, which were also at the factual heart of the Florida and New York defamation

suits.

          36.   Betancourt, Trebbau and Derwick Associates hired a New York law firm to

represent their interests in the Florida Defamation Suit and the New York Defamation Suit (the

“New York Counsel”). In fact, simultaneously with the filing of the Florida complaint and the

issuance of the summonses, New York Counsel filed motions for pro hac vice on behalf of three

of their New York lawyers demonstrating that both the Florida and New York defamation suits

(and all strategies and decisions concerning the same) would be assessed in and executed from

New York. Upon information and belief, in connection with that representation, Defendants

Betancourt and Trebbau executed retainer agreements in at least their personal capacities with

New York Counsel; paid legal fees to New York Counsel in New York in U.S. dollars; and

regularly communicated with New York Counsel either in person at their attorneys’ offices in




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New York or through phone calls, electronic mail or facsimile communications directed to New

York.

        37.    Upon information and belief, virtually all legal work undertaken in connection

with the Florida and New York Defamation Suits was conducted primarily, if not exclusively, by

Betancourt and Trebbau’s New York Counsel. Thus, all decisions concerning the

commencement, prosecution and eventual settlement of the claims brought in the Florida and

New York defamation suits were made by New York Counsel in New York. Such strategic

decisions would have included, at the most basic level, who to sue, where to sue, when to sue, an

evaluation of potential claims and likely defenses, an assessment and determination of damages

($300 million in the Florida Defamation Suit), discovery to be sought and how best to respond to

discovery demands, and, of course, settlement recommendations and negotiations. New York

Counsel also would have recommended and evaluated potential experts to be retained by

Betancourt, Trebbau and Derwick Associates and developed a list of likely candidates. Upon

information and belief, such New York-based discussions certainly would have included mention

of Ambassador Reich who would have been on the “short list” of potential experts to be

considered or otherwise addressed.

        38.    Prior to October 2013, New York Counsel represented Betancourt in this

litigation. Although Betancourt has since retained yet another New York law firm, New York

Counsel continue to monitor this case, including by sending an attorney from the firm to observe

this Court’s conference on December 17, 2013.

        39.    Further, upon information and belief, each Defendants is a principal of Derwick

Associates and, thus, Derwick Associates’ contacts with New York are attributable to each

Defendant where Derwick Associates engaged in purposeful activities in New York; Derwick




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Associates’ activities were performed for the personal benefit of each of the Defendants and with

the knowledge and consent of each of the Defendants; and each of the Defendants exercised,

operated and managed Derwick Associates.

       40.     On or about December 23, 2013, Defendants Betancourt and Trebbau moved to

dismiss the Original Complaint in this action pursuant to, among other things, Rule 12(b)(2) of

the Federal Rules of Civil Procedure. Noticeably absent from these Defendants’ submissions

were sworn affidavits by either of them contesting the jurisdiction of this Court. Tellingly,

neither Betancourt nor Trebbau submitted a sworn statement attesting that, among other things,

they have no presence in New York, do not own property in New York, do not have a bank

account in New York, have not transacted business within New York, have not supplied or

received goods or services within New York, have not solicited business in New York, and/or

have not engaged in any persistent course of conduct or derived revenue from New York.


                                 DETAILED ALLEGATIONS

Former Ambassador Otto Reich is a Distinguished
Individual Who Has Been Outspoken About Corruption in Venezuela

       41.     United States Ambassador Reich was born in Cuba. In 1960, shortly after Fidel

Castro came to power, he moved to the United States with his family. After college, he joined

the U.S. Army, serving as a lieutenant in the U.S. Army’s 3rd Civil Affairs Group (Airborne),

Panama Canal Zone.

       42.     From 1981 to 1983, Ambassador Reich was Assistant Administrator of the U.S.

Agency for International Development (USAID) in charge of U.S. economic assistance to Latin

America and the Caribbean. From 1983 to 1986, he served as Special Advisor to the Secretary

of State, where he directed the Office of Public Diplomacy for Latin America and the Caribbean.




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       43.     From 1986 to 1989, Ambassador Reich served as U.S. Ambassador to Venezuela.

For his work as Ambassador, Reich was awarded the highest commendations of the U.S.

Department of State. In 1991 and 1992, as a private citizen and at the request of President

George H. W. Bush, Ambassador Reich served as Alternate U.S. Representative to the United

Nations’ Human Rights Commission in Geneva. During his long career, Ambassador Reich has

also served as Washington Director of the Council of the Americas, Community Development

Coordinator for the City of Miami, and International Representative of the State of Florida

Department of Commerce.

       44.     In 2001, Ambassador Reich was appointed by President George W. Bush to be

the Assistant Secretary of State for Western Hemisphere Affairs. In 2003, he became the

President’s Special Envoy for Western Hemisphere Initiatives, and a Senior Staff member of the

National Security Council. Ambassador Reich retired from government service in June 2004.

       45.     Following his exit from government service, Ambassador Reich focused full-time

on ORA, which is a Washington, D.C.-based consulting firm providing government relations,

trade, investment, and anti-corruption advice, primarily to U.S.-based clients. ORA’s services

are sought mainly by U.S.-based businesses and organizations with operations in Latin America,

who believe similarly to Ambassador Reich that foreign corruption is a threat to their honest

business efforts, and who seek to protect themselves against undue influence by foreign public

officials, and need assistance navigating industries in which competitors may be benefiting from

corruption. Indeed, Ambassador Reich markets himself as a fighter of corruption in Latin

America. On ORA’s website, it states that “ORA also protects corporations from the constant

threat of corruption throughout [Latin America]. We use our experience and knowledge of U.S.




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policy to defend clients’ interests against improper business practices and undue influence by

public and private officials.”2

        46.      Ambassador Reich appears regularly in the U.S. media, and has spoken

extensively about the political situation in Venezuela, including about public corruption in the

Venezuelan energy sector. Ambassador Reich has described himself as “very critical of the

organized crime enterprise misruling Venezuela.”3

Derwick Associates is a U.S.-based Enterprise that is Managed and Directed
from the United States by Defendants Betancourt, Trebbau, and D’Agostino

        47.      At all relevant times, Defendants Betancourt, Trebbau, and D’Agostino worked

together as each other’s agents and partners, and were the owners and/or officers, directors, or

operators of Derwick Associates USA LLC and Derwick Associates Corporation, and these

entities’ predecessors, successors, assigns and affiliates (“Derwick Associates”).

        48.      As part of their pattern of racketeering activity, Defendants direct, control and

coordinate virtually all aspects of global strategy, as well as the day-to-day activities of Derwick

Associates, from their offices and homes in New York and Florida, including from 450 Park

Avenue, New York, New York 10022. It is from these locations that decisions are made

concerning Derwick Associates.

        49.      In a court filing in the Florida Defamation Suit, Defendant Betancourt stated that

he is “co-founder and President of Derwick … [and] is responsible for the origination,

structuring and execution of all Derwick projects, and has primary responsibility for the

management of Derwick Associates’ relationships with its clients, suppliers, and regulators.”

2
         See ORA’s website, available at
http://www.ottoreich.com/www.ottoreichassociates.com/Capabilities_%26_Services.html (last accessed January 12,
2014).
3
         See Otto J. Reich, “Rebutting Maduro’s Malicious Allegations,” Americas Forum, March 19, 2013,
available at http://www.americas-forum.com/otto-reich-rebutting-maduros-malicious-allegations/ (last accessed
January 9, 2014).


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       50.     Also in the Florida Defamation Suit, Defendant Trebbau stated that he is “co-

founder and Vice President of Derwick … [and] has primary responsibility for the supervision of

operations of all projects, and is directly responsible for the execution of large EPC contracts in

Venezuela … [and] managing the day-to-day relationships with Derwick’s international banks”

(emphasis added). Upon information and belief, the banks with which Trebbau has “day-to-day

relationships” are the New York-based J.P. Morgan, which has its headquarters on Park Avenue

in New York, New York, and the Davos Financial Group, which is located on Park Avenue in

New York, New York.

       51.     Derwick Associates holds itself out as being in the business of providing

engineering, procurement and construction services involving power plants to the government of

Venezuela. Yet, Derwick Associates itself lacks the technology and engineering wherewithal to

engage in or evaluate such large-scale, heavy duty industrial projects. By Defendants’ own

admissions, Derwick Associates relies heavily on several U.S.-based companies, including

General Electric, Pratt & Whitney, and ProEnergy Services, LLC (“ProEnergy Services”) to

provide the materials and services needed to construct the power plants.

       52.     ProEnergy Services, the company believed to do all the actual construction and

operation of Derwick Associates’ facilities, has long been headquartered in Missouri and has

since 2008 been licensed to do business in New York. General Electric is a New York Stock

Exchange-traded company headquartered in Connecticut. Pratt & Whitney is based in

Connecticut and is owned by United Technologies, another New York Stock Exchange-traded

company.

       53.     During the relevant time period, Derwick Associates USA LLC (“Derwick

Associates USA”) was registered as a Florida Limited Liability Company, FEI/EIN




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No. 274195456. Derwick Associates USA has a place of business located at 1050 Lee Wagner

Boulevard, Suite 200-201, Fort Lauderdale, Florida 33315.

        54.      During the relevant time period, Defendant Betancourt was on file with the State

of Florida as Derwick Associates USA’s registered agent, and Defendants Betancourt and

Trebbau were on file with the State of Florida as Manager/Members of Derwick Associates

USA.

Corruption in Venezuela’s
Government Contracting and Energy Sector

        55.      Bribing public officials is illegal in Venezuela. Nevertheless, the country has

become a breeding ground for public corruption, especially when it comes to the awarding of

public contracts. As noted by the U.S. Department of State and others:

                 x   The U.S. Department of State recognizes Venezuela as being corrupt and of
                     risk to companies seeking to do business there. As stated in its 2013
                     Investment Climate Statement on the country, the State Department warns
                     U.S. businesses that “Venezuela’s regulatory system lacks transparency and
                     suffers from corruption,” and notes that “Venezuela has not adopted the
                     OECD Convention on Combating Bribery of Foreign Public Officials in
                     International Business Transactions.”4

                 x   Venezuela is ranked number 165 out of 176 nations in the world in
                     Transparency International’s 2012 “Corruption Index”; in other words,
                     Venezuela is one of the eleven worst countries in the world in terms of public
                     corruption. Transparency International also described Venezuela’s public
                     budget transparency as “minimal.”5

                 x   As noted by the U.S. Department of State, “[i]n 2012, Venezuela ranked 174
                     out of 177 in the Heritage Foundation’s Index of Economic Freedom.”6

                 x   In 2012, The New York Times noted that “[t]he story of how power failures
                     can plague Venezuela even though it boasts some of the world’s greatest

4
         See United States Department of State, 2013 Investment Climate Statement – Venezuela, available at
http://www.state.gov/e/eb/rls/othr/ics/2013/204759.htm (last accessed January 9, 2014).
5
         See Transparency International 2012 Corruption Index, available at
http://www.transparency.org/country#VEN_DataResearch_SurveysIndices (last accessed January 9, 2014).
6
         See United States Department of State, 2013 Investment Climate Statement – Venezuela, available at
http://www.state.gov/e/eb/rls/othr/ics/2013/204759.htm (last accessed January 9, 2014).


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                      natural gas reserves and massive hydroelectric dams is the Chávez years in
                      miniature — a heady cocktail of ideological rigidity, corruption and
                      mismanagement.”7

        56.      The U.S. government has identified and acted on many U.S.-based kickback

schemes designed to exploit the Venezuelan market. Indeed, unwilling to tolerate bribery and

kickbacks by U.S.-connected persons operating in Venezuela, the U.S. government has acted to

hold such people accountable. For instance, in 2008, the SEC brought a civil enforcement action

against a foreign unit of Siemens in the Southern District of New York, alleging violations of the

Foreign Corrupt Practices Act for paying bribes to government officials who “had influence

over” the public contracting process in Venezuela to build metro transit lines.

        57.      In May 2013, the U.S. Department of Justice filed criminal charges in the

Southern District of New York against two U.S.-based broker-dealers, Alberto Clarke

Bethancourt and Jose Alejandro Hurtado, for conspiring to pay bribes to a Venezuelan public

official in exchange for financial trading business. According to the U.S. government,

“defendants in this case allegedly paid huge bribes so that foreign business would flow to their

firm … defendants’ arrests lay bare a web of bribery and corruption in which employees of a

U.S. broker-dealer allegedly generated tens of millions of dollars through transactions in order to

fund kickbacks to a Venezuelan government official in exchange for her directing the

Venezuelan economic development bank’s financial trading business to their employer.”8 In




7
           See, e.g., “Full of Gas,” The New York Times/International Herald Tribune, Sept. 21, 2012, available at
http://latitude.blogs.nytimes.com/2012/09/21/chavezs-electric-power-problem/ (last accessed January 9, 2014)
(emphasis added). Besides corruption in the public contracting sector, the Venezuelan government suffers from
corruption in its justice and police systems. For instance, the U.S. Department of State warns travelers that “the
criminal threat level for Caracas [is] CRITICAL,” due in part to “poorly paid and often corrupt police [and] an
inefficient politicized judiciary.” U.S. Department of State, Venezuela 2012 Crime and Safety Report, available at
https://www.osac.gov/Pages/ContentReportDetails.aspx?cid=13038 (last accessed January 9, 2014).
8
         See U.S. Department of Justice Press Release, May 7, 2013, available at
http://www.justice.gov/opa/pr/2013/May/13-crm-515.html (last accessed January 9, 2014).


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August 2013, Alberto Clarke Bethancourt and Jose Alejandro Hurtado pleaded guilty in New

York federal court (Southern District of New York) for their roles in the bribery schemes.

        58.      On October 14, 2013, it was reported that two Spanish officials were charged with

approving $30 million in kickbacks to two former Venezuelan military officers, in exchange for

their assistance in securing Venezuela’s purchase of eight military vessels. According to the

report, the contract prices for the vessels were massively inflated to supply the money needed to

fund the kickbacks.9

        59.      Things are no different today in Venezuela’s energy sector, which is rife with

opportunity for parties willing to “pay to play.”

Defendants, From the United States and Through
Derwick Associates, Exploit the Opportunity for Corruption in Venezuela

        60.      Defendants use Derwick Associates to secure inflated public contracts in

Venezuela, paying public officials large payments in exchange for awarding them contracts, and

unjustly enriching themselves in the process.

        61.      In the Florida Defamation Suit discussed above, Defendants Betancourt and

Trebbau admit that “[b]etween 2009 and 2010, Derwick [Associates] submitted more than 25

bids on EPC projects and received EPC contracts on twelve of those projects.”

        62.      The truth, of course, is far more complicated (and much less flattering to

Defendants). As discussed in more detail below, from 2009 to 2010, Derwick Associates

obtained at least a dozen energy-sector contracts valued at approximately $1 billion from

agencies of the Venezuelan government, secured via illegal bribes, kickbacks and other unlawful

activities, all in violation of United States law.


9
        See El Universal, Former Spanish officials charged with payment of kickbacks in Venezuela,” October 14,
2013, available at http://english.eluniversal.com/economia/131014/former-spanish-officials-charged-with-payment-
of-kickbacks-in-venezuel (last accessed January 9, 2014).


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        63.     Because the factual particulars concerning Defendants’ illicit schemes are

peculiarly within the knowledge, possession and control of Defendants (and their co-

conspirators), and because Defendants have every incentive to keep their transactions secret so as

to prevent criminal prosecution and enable them to continue their profiteering, it is impossible to

plead the granular details of Defendants’ scheme. Indeed, commentators have noted that an

essential characteristic of a bribery scheme and corruption is maintaining the secrecy of the

scheme: “[corruption] is obviously a dangerous and seductive form of immorality: it is difficult

to detect, for it is in the interest alike of the giver and the receiver of the corrupt gift to keep the

thing secret.” 10

        64.     However, Plaintiffs have been able to uncover enough information to allege the

following facts concerning Defendants’ U.S.-conceived and executed pattern of racketeering

activity.

                     A. Petroleos de Venezuela, S.A.

        65.     Petroleos de Venezuela, S.A. (“PDVSA”) is the Venezuelan state-owned

corporation responsible for the nation’s energy production.

        66.     PDVSA has come under heavy scrutiny for years regarding its disorganization,

inefficiency, and corruption, and has been the subject of multiple U.S. securities enforcement

and civil litigation proceedings concerning bribes and kickbacks given to or solicited by PDVSA

officials:

                x    In 2012, a court-appointed receiver in Connecticut filed suit in U.S. District
                     Court for the District of Connecticut, alleging that the head of a U.S. asset
                     management company paid millions of dollars in kickbacks to a senior
                     PDVSA official in exchange for approval of certain financial transactions with
                     the PDVSA. Carney v. Illarramendi, et al., No. 12-cv-00165 (D. Conn.
                     2012).


10
        See, e.g., LISSACK AND HORLICK ON BRIBERY, § 1.18, at 6 (2011) (citation omitted).


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                 x   In 2010, the Securities and Exchange Commission filed suit against Joe
                     Summers, a U.S.-based operations manager for a BVI-based oil drilling
                     company, alleging that he authorized payments to PDVSA officials in
                     exchange for drilling contracts, in violation of the Foreign Corrupt Practices
                     Act. SEC v. Summers, No. 10-cv-02786 (S.D. Tex. Aug. 5, 2010).

                 x   In 2009, the Securities and Exchange Commission filed suit against Bobby
                     Benton, a U.S.-based operations manager for an oil drilling company, for
                     authorizing payments to PDVSA officials in exchange for drilling contracts,
                     in violation of the Foreign Corrupt Practices Act. SEC v. Benton, No. 09-cv-
                     03963 (S.D. Tex. Dec. 10, 2009).

                 x   In 2008, PDVSA was sued by a Miami-based food company, which alleged
                     that PDVSA cancelled contracts with it after the company refused to pay $2
                     million in bribes.

        67.      In 2010, PDVSA’s penchant for corruption again asserted itself in connection

with its solicitation of construction contracts. In mid-2010, PDVSA awarded contracts to

Derwick Associates for the construction of four power plants in Venezuela. The plants in

question were to be located in the cities of Las Morochas, Barinas, El Furrial, and El Morichal.

        68.      These contracts were not the subject of a public bidding process – a tell-tale mark

of impropriety. Indeed, in its resource manual for combatting foreign bribery by U.S.-based

businesses, the Criminal Division of the U.S. Department of Justice and the Enforcement

Division of the U.S. Securities and Exchange Commission specifically highlighted non-public

bids as a common red-flag for bribery of foreign officials.11

        69.      Upon information and belief, Defendants Betancourt, Trebbau, and D’Agostino

agreed amongst themselves to attempt to entice and influence Venezuelan officials to award the

contracts to Derwick Associates by way of offering kickbacks to those officials. Upon securing

the inflated contracts, Derwick Associates would subcontract out the work to various U.S.-based

companies, including Missouri-based and New York-licensed ProEnergy Services, who would


11
          See U.S. Department of Justice, FCPA: A Resource Guide to the Foreign Corrupt Practices Act, available
at http://www.justice.gov/criminal/fraud/fcpa/guide.pdf (last accessed January 9, 2014).


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do substantially all of the actual construction. Derwick Associates, having done nothing beyond

illegally procuring the contracts, would keep a substantial percentage of the contract proceeds for

itself and its principals.

        70.      Although the exact details of the PDVSA kickback scheme (including the amount

of the kickback and the dates it was offered and paid) remain shrouded in secrecy given the

nature of the crimes, it is believed that through an individual named Francisco Convit-Guruceaga

(“Convit-Guruceaga”) (who is Defendant Betancourt’s first cousin and also a part owner of

Derwick Associates), Defendants Betancourt, Trebbau, and D’Agostino contacted Nervis

Villalobos (“Villalobos”), a former Vice Minister of Energy, about obtaining the contracts to

build the plants.

        71.      Upon information and belief, Convit-Guruceaga, pursuant to Defendants’

instructions, told Villalobos to extend an offer of a substantial payment on their behalf to Rafael

Ramirez (“Ramirez”), President of PDVSA, in order to award the construction contracts to

Derwick Associates. Upon information and belief, Villalobos did so, and Ramirez accepted the

offer. Upon information and belief, according to flight manifest records, Nervis Villalobos has

flown on Derwick Associates’ private jet to and from Venezuela.12

        72.      As a result, PDVSA awarded the following four contracts to Derwick Associates:

                 x   On April 30, 2010, PDVSA awarded to Derwick Associates the contract for
                     the Las Morochas facility;

                 x   On November 21, 2010, PDVSA awarded to Derwick Associates the contract
                     for the El Furrial facility;

                 x   On November 21, 2010, PDVSA awarded to Derwick Associates the contract
                     for the El Morichal facility; and


12
          See Cesar Batiz, La Historia intima de Derwick, October 12, 2012, Últimas Noticias, available at
http://settysoutham.files.wordpress.com/2012/12/yahoo-cache-on-la-historia-c3adntima-de-de-idad-c3baltimas-
noticias.pdf (last accessed January 12, 2014).


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                x    On November 23, 2010, PDVSA awarded to Derwick Associates the contract
                     for the Barinas I facility.

        73.     The final contract prices were never publicly released by the Venezuelan

government. However, it has been reported that the final contract price for the Barinas I facility

was $242.3 million.

        74.     Upon receipt of the contracts, Defendants subcontracted with a U.S. company to

perform the work, the Missouri-based and New York-licensed ProEnergy Services. Upon

information and belief, the monies that Derwick Associates received from the contracts were

wired to accounts at J.P. Morgan and Davos Financial Group in New York, and were used, in

turn, to pay millions of dollars in kickbacks to Ramirez.

                B. CORPOELEC

        75.     CORPOELEC stands for Corporación Eléctrica de Venezuela. CORPOELEC is

the successor entity to Electricidad de Caracas. It is the state-owned entity responsible for

supplying power to the Venezuelan capital of Caracas. It was created in 2007 via the merger of a

number of Venezuelan state-owned power companies.

        76.     Like PDVSA, CORPOELEC has been widely recognized as a target for

exploitation by corrupt public officials. For instance, The Economist observed that “[t]entative

efforts to tame corruption [in Venezuela’s energy sector] have [] been undermined … On [Hugo

Chávez’s] watch, [Chávez’s brother] had led the electricity ministry as well as Corpoelec, the

graft-riddled state-run electricity giant.”13 CORPOELEC’s “graft-riddled” nature asserted itself

in 2009 with its solicitation of construction contracts.14



13
         See The Economist, A Circus Without a Ringmaster, June 6, 2013, available at
http://www.economist.com/news/americas/21580477-radicals-former-soldiers-and-cuban-spies-jostle-control-
venezuelan-ring-circus (last accessed January 9, 2014).
14
        Id.


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        77.      In mid-to-late 2009, CORPOELEC awarded contracts to Derwick Associates for

the construction of energy generating plants known as Raisa I and II, Guarenas I and II, Picure,

and Margarita, each located in and around Caracas. Those contracts were not the subject of a

public bidding process, which is a tell-tale mark of impropriety.15

        78.      Upon information and belief, Defendants Betancourt, Trebbau, and D’Agostino

set out to offer millions of dollars in kickbacks to CORPOELEC officials in exchange for

awarding the contracts to Derwick Associates. Upon securing the inflated contracts, Derwick

Associates would then subcontract out the work to another U.S. company, Missouri-based and

New York-licensed ProEnergy Services, which would do substantially all of the actual work.

Derwick Associates, having done almost nothing, would keep a substantial percentage of the

contract proceeds for itself.

        79.      Although the exact details of the kickback scheme (including the amount of the

kickback and the dates it was offered and paid) remain necessarily shrouded in secrecy given the

nature of the crimes, it is believed that Defendant Trebbau approached Javier Andres Alvarado

Pardi (“Pardi”) (son of Javier Alvarado Ochoa, former Venezuelan Minister of Electrical

Development, and a childhood friend of the Defendants), about awarding the contracts to

Derwick Associates. Trebbau offered Pardi a substantial kickback in exchange for his assistance

in securing the contracts for Derwick Associates.

        80.      Upon information and belief, that offer was accepted, and as a result,

CORPOELEC awarded Derwick Associates the following five contracts:

                 x   On October 2, 2009, CORPOELEC awarded to Derwick Associates the
                     contract for the Picure facility;



15
          See U.S. Department of Justice, FCPA: A Resource Guide to the Foreign Corrupt Practices Act, available
at http://www.justice.gov/criminal/fraud/fcpa/guide.pdf (last accessed January 9, 2014).


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               x   On November 23, 2009, CORPOELEC awarded to Derwick Associates the
                   contract for the La Raisa I facility;

               x   On November 30, 2009, CORPOELEC awarded to Derwick Associates the
                   contract for the La Raisa II;

               x   On March 11, 2010, CORPOELEC awarded to Derwick Associates the
                   contract for the Guarenas I facility; and

               x   On October 4, 2010, CORPOELEC awarded to Derwick Associates the
                   contract for the Guarenas II facility.

       81.     During this time period, Derwick Associates was also awarded a portion of the

contract for the facility in Margarita, Venezuela, although no public information exists regarding

when that contract was awarded.

       82.     The final contract prices have not been publicly disclosed by the Venezuelan

government. However, media reports have noted that CORPOELEC accepted a $240 million bid

from Derwick Associates for construction of the Picure facility; a $242.3 million bid from

Derwick Associates for construction of the La Raisa I facility, a $142.2 million bid from

Derwick Associates for construction of the La Raisa II facility, and a $253.6 million bid from

Derwick Associates for construction of the Guarenas I and II facilities.

       83.     Upon information and belief, the monies that Derwick Associates received from

the contracts were wired to accounts at J.P. Morgan and Davos Financial Group in New York,

and were used, in turn, to pay millions of dollars in kickbacks to Pardi.

       84.     Upon information and belief, Defendants Betancourt, Trebbau, and D’Agostino

plan to continue their “courting” of CORPOELEC officials. On April 23, 2013, the Venezuelan

government authorized CORPOELEC to award new contracts to construct power plants and to

buy various energy-related goods and services.




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        85.     Upon information and belief, Defendants Betancourt, Trebbau, and D’Agostino

are at present attempting to obtain such contracts for Derwick Associates, and intend to offer

substantial illegal payments to government officials in exchange for contract awards.

        86.     Upon information and belief, as an apparent personal favor to Pardi, the son of the

former Venezuelan Minister of Electrical Development, on or about May 21, 2010, Defendants

allowed Pardi to list Derwick Associates’ U.S. office address and telephone number as the

shipping address and contact number in connection with his importation into the United States of

an exotic luxury sports from the Dominican Republic. The nature of this nepotistic conduct

providing such “value” to the son of a foreign government official appears similar to the type of

conduct that the United States Securities and Exchange Commission is investigating in

connection with J.P. Morgan’s “Sons and Daughters” hiring program, as reported in The New

York Times and the Wall Street Journal.16

                C. Corporacion Venezolana de Guayana

        87.     Corporacion Venezolana de Guayana (“CVG”) is a state-owned entity which

controls energy production in the Guayana region in southeast Venezuela.

        88.     In late 2009, CVG awarded two contracts to Derwick Associates for the

construction of energy plants in Puerto Ordaz, Venezuela, named Sidor Planta A and Sidor

Planta B. The contracts were not the subject of a public bidding process.

        89.     Upon information and belief, Defendants Betancourt, Trebbau, and D’Agostino

set out to offer millions of dollars in kickbacks to CVG officials in exchange for awarding the

contracts to Derwick Associates. Upon securing the inflated contracts, Derwick Associates

16
          “JPMorgan Hiring Put China’s Elite on an Easy Track,” August 29, 2013, The New York Times, available
at http://dealbook.nytimes.com/2013/08/29/jpmorgan-hiring-put-chinas-elite-on-an-easy-track/ (last accessed
January 12, 2014); “J.P. Morgan Emails Note Hire’s Family Ties,” December 8, 2013, The Wall Street Journal,
available at http://online.wsj.com/news/articles/SB10001424052702303560204579246674206332380 (last accessed
January 12, 2014).


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would then subcontract out the work to another U.S. company, Missouri-based and New York-

licensed ProEnergy Services, who would do substantially all of the actual work. Derwick

Associates, having done almost nothing, would keep a substantial percentage of the contract

proceeds for itself.

        90.     Although the exact details of the kickback scheme (including the amount of the

kickback and the dates it was offered and paid) remain necessarily shrouded in secrecy, it is

believed that through the above-mentioned intermediary Convit-Guruceaga, Defendants

Betancourt, Trebbau, and D’Agostino contacted Rodolfo Sanz (“Sanz”), the Venezuelan

Minister of Basic Industries and Mining.

        91.     Upon information and belief, Defendants Betancourt, Trebbau, and D’Agostino

together authorized Convit-Guruceaga to offer Sanz a substantial payment in order to obtain the

contracts. Convit-Guruceaga did so. Betancourt later personally negotiated with Sanz over the

terms of the payment. Upon information and belief, Sanz accepted the offer, and as a result,

CVG awarded Derwick Associates the contracts.

        92.     On November 30, 2010, CVG awarded to Derwick Associates the contract for the

Sidor Planta A facility.

        93.     Further, upon information and belief, during this time period, Derwick Associates

was also awarded the contract for the Sidor Planta B facility, although no public information

exists regarding when that contract was awarded.

        94.     The final contract prices have not been publicly disclosed by the Venezuelan

government. However, media reports have revealed that CVG accepted a $920 million bid from

Derwick Associates for the Sidor Planta B facility.




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         95.      Upon information and belief, the monies that Derwick Associates received from

the contracts were wired to accounts at J.P. Morgan and Davos Financial Group in New York,

and were used, in turn, to pay millions of dollars in kickbacks to Sanz.

D’Agostino Has Admitted that Defendants Pay
Illegal Bribes To Secure the Energy Contracts

         96.      Defendants have bragged to their friends and acquaintances in the United States

that Derwick Associates secured the Venezuelan energy-sector contracts by giving kickbacks to

the right people.

         97.      For instance, in November, 2012, while in the United States, D’Agostino told a

friend that “of course” Derwick Associates paid kickbacks to secure its energy contracts; he

noted that in Venezuela, “you always have to pay” what D’Agostino called “consulting fees,” in

order to secure the contracts. Of note, the U.S. Department of Justice has declared that payments

to foreign officials to influence their decisions violate the Foreign Corrupt Practices Act even if

they are accounted for as “consulting fees.” U.S. Department of Justice, FCPA: A Resource

Guide to the Foreign Corrupt Practices Act, available at

http://www.justice.gov/criminal/fraud/fcpa/guide.pdf (last accessed January 9, 2014) (“[b]ribes

are often concealed under the guise of legitimate payments, such as commissions or consulting

fees”).17

         98.      After the Original Complaint in this matter was filed, agents of Defendant

D’Agostino approached Ambassador Reich and made statements that, at a minimum, confirmed


17
         At the 22nd National Forum on the Foreign Corrupt Practices Act (November 17, 2009), Lanny A. Breuer,
former U.S. Assistant Attorney General, Criminal Division, Department of Justice stated: “We are all here today to
consider a law enforcement challenge of truly global dimensions. The word ‘bribe’ is, of course, known throughout
the world. In the United States, it has been called a pay-off, a kickback, hush money, payola, and a sweetener. It is
sometimes concealed behind what is called a commission, a reward, a finder’s fee, a gratuity, or a ‘thank you’.”
Lanny A. Breuer, Address at the 22nd National Forum on the Foreign Corrupt Practices Act (November 17, 2009),
available at http://online.wsj.com/public/resources/documents/111709breuerremarks.pdf (last accessed January 13,
2014).


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not only that D’Agostino had access to information only available to those at the highest levels

of management of Derwick Associates and accessible only on a “need to know” basis, but that

such information would be damning to Defendants Betancourt and Trebbau in this litigation.

        99.     In August 2013, Ambassador Reich had lunch in Washington, D.C. with a former

Venezuelan government official (the “Emissary”) who claimed to be an agent of Defendant

D’Agostino. The Emissary had flown to the United States on the private jet of D’Agostino’s

father-in-law. At their meeting, the Emissary told Ambassador Reich that if he would dismiss

D’Agostino from the lawsuit, D’Agostino would provide Ambassador Reich with information

about Defendants Betancourt and Trebbau that would substantiate the allegations set forth in

Plaintiffs’ case.

The Projects Undertaken by Derwick Associates
Were Grossly Overbilled and are of Poor Quality

        100.    A hallmark feature of corruption in government contracting or procurement is the

supplying of low-quality goods or underperforming services at inflated prices. That is exactly

what has happened with the projects undertaken by Derwick Associates.

        101.    In September 2013, the preliminary results of a major study undertaken by a

respected energy expert (the “Energy Expert”) were made public, showing gross overbilling in

the construction and operation of energy-sector projects in Venezuela, including on projects by

Derwick Associates.

        102.    The Energy Expert is a mechanical engineer specializing in industrial oil, gas, and

electricity projects who has worked for years in the Venezuelan energy sector. Upon

information and belief, in the 1980’s, the Energy Expert immigrated to the United States, where

he worked for energy utilities, and today he consults on risk-management projects for public

utilities concerning maintenance, operations, and safety issues.



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        103.   The Energy Expert reviewed previously undisclosed information regarding the

costs of certain Derwick Associates’ energy projects, and compared those costs to what the

projects should have cost, had the projects been awarded based on competitive, transparent

bidding processes.

        104.   The Energy Expert developed estimates for what the projects would have cost had

the contracts not been grossly inflated by Defendants as a result of their pattern of racketeering

activity.

        105.   The Energy Expert estimated that the contract prices for the projects awarded to

Derwick Associates exceeded, by approximately $2.9 billion, the amount that the projects should

have cost.

        106.   In September 2013, the Energy Expert released updated results confirming the

gross overbilling and underperformance by Derwick Associates. Based upon his updated results,

he estimates that Derwick Associates grossly overcharged for every project they were awarded,

some projects by over 300%.

        107.   The Energy Expert found that the average overbill by Derwick Associates on the

projects analyzed was over 200%. In other words, the average Derwick Associates energy

contract was approximately three times more expensive than it should have been.

        108.   It has been reported that Derwick Associates’ projects have also been plagued by

delays and underperformance. According to the Energy Expert, the majority of the projects

undertaken by Derwick Associates are either years late in completion, only partially completed,

or entirely non-functional:

               x     For the CORPOELEC project in Guarenas, the Energy Expert estimates that,
                     at market rates, the project should have cost approximately $90 million.
                     According to government records, Derwick Associates was awarded a




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                  contract for $253.6 million. Only 80 of the promised 156 megawatts are
                  currently functional.

              x   For the CORPOELEC project La Raisa I, the Energy Expert estimates that, at
                  market rates, the project should have cost approximately $110 million.
                  According to government records, Derwick Associates was awarded a
                  contract for $242.3 million. Originally set for completion in December 2010,
                  only 95 of the promised 180 megawatts are currently functional.

              x   For the CORPOELEC project La Raisa II, the Energy Expert estimates that, at
                  market rates, the project should have cost approximately $62 million.
                  According to government records, Derwick Associates was awarded a
                  contract for $142 million. Only 40 of the promised 90 megawatts are
                  currently functional.

              x   For the CORPOELEC project Picure, the Energy Expert estimates that, at
                  market rates, the project should have cost approximately $95 million.
                  According to government records, Derwick Associates was awarded a
                  contract for $240 million. Originally set for completion in August 2010, only
                  100 of the promised 132 megawatts are currently functional.

              x   For the CORPOELEC project Margarita, the Energy Expert estimates that, at
                  market rates, the project should have cost approximately $102.9 million.
                  According to government records, Derwick Associates was awarded a
                  contract for $337.7 million. Originally set for completion in November 2011,
                  only 120 of the promised 170 megawatts are currently functional.

              x   For the CVG project Sidor, the Energy Expert estimates that, at market rates,
                  the project should have cost approximately $528 million. According to
                  government records, Derwick Associates was awarded a contract for $920
                  million. None of the promised 880 megawatts are currently (or have ever
                  been) functional.

       109.   The Energy Expert also reviewed and analyzed projects that Derwick Associates

was awarded by PDVSA under the PDVSA’s umbrella “Autosuficiencia” program, which is a

program to make the PDVSA itself completely self-supplying when it comes to power

generation. The Energy Expert estimates that the various projects – in which Derwick

Associates took part – should have cost approximately $789.9 million at market rates. However,

the Energy Expert’s research revealed that PDVSA awarded contracts worth $2.1 billion.




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        110.     According to the Energy Expert, only 287.5 of the promised 1354 megawatts

needed for PDVSA’s “Autosuficiencia” program are currently functional (despite being

scheduled for completion in October 2010).

        111.     Charging a premium for substandard goods is a classic way to build enough

“padding” into a contract to pay kickbacks (and make an illicit profit). Inflated government

contract prices and underperformance on government contracts are tell-tale signs of public

corruption. The Washington, D.C.-based International Anti-Corruption Resource Center, whose

mission it is to attack and thwart public corruption, has noted that inflated contract prices and

underperformance on contract specifications are two “red flags” indicative of the existence of

bribery and kickback schemes with respect to government contracts.18

        112.     Based on the contract prices awarded to Derwick Associates, the Venezuelan

government appears to have paid substantially above market value for purportedly “new”

equipment. Upon information and belief, the overbilling by Derwick Associates for its energy-

sector contracts went not only to line the pockets of Defendants Betancourt, Trebbau, and

D’Agostino, but to pay the kickbacks to government officials necessary to secure the contracts.

        113.     The Energy Expert is not the only industry expert to question the projects

undertaken by Derwick Associates. For instance, an individual named Gustavo Coronel

(“Coronel”), an oil-industry veteran who claims over 35 years of experience in the industry, has

written extensively regarding Derwick Associates’ lack of manpower, expertise, and capital

needed to engage in the type of projects Derwick Associates claims it engages in. Coronel has

noted that Derwick Associates’ small size (15 employees at the time of his writing), lack of



18
         See Summary of Fraud and Corruption Cases in International Development Projects, February 6, 2012,
available at http://iacrc.org/fraud-and-corruption/summary-of-fraud-and-corruption-cases-in-international-
development-projects/ (last accessed January 13, 2014).


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experience, and lack of capital is not “compatible with the magnitude, complexity and

sophistication of the projects Derwick has been doing.”19

Defendants’ Business Operations Have Drawn Interest
From Many Reputable Parties, Including the United States Government

         114.    The incredible manner in which Derwick Associates (being operated by such

young and inexperienced owners, operators and managers) secured more than a billion dollars in

complex energy construction contracts in such a short time has drawn interest from the United

States government and numerous media sources.

         115.    Information has emerged from publicly-available sources that individuals

associated with the Federal Bureau of Investigation have recently conducted inquiries into

Derwick Associates’ activities.20 Upon information and belief, the Department of Homeland

Security and the Treasury Department have also made inquiries into Derwick Associates’

activities. Further, upon information and belief, the United States Securities and Exchange

Commission’s New York Regional Office is currently conducting an inquiry into the activities of

Derwick Associates.

         116.    In addition, a number of mainstream English and Spanish-language publications

have published articles detailing the suspicious manner in which these contracts were awarded to

Derwick Associates, and recount allegations that Derwick Associates secured these contracts via

improper payments to Venezuelan officials. For instance:

     x    Cesar Batiz, an award-winning reporter at the Spanish-language publication Últimas
          Noticias, reported that Derwick Associates had received these immense contracts
          despite the lack of any sort of track record, and the lack of experience of its managers.

19
        See Coronel’s website; for instance http://lasarmasdecoronel.blogspot.com/2013/09/about-transparency-
derwick-and-pdvsa.html (last accessed January 9, 2014).
20
         See Posting to Infodio, September 12, 2012, available at http://infodio.com/content/fbi-looking-derwick-
associates (last accessed January 9, 2014) (Derwick Associates’ “claims of proven track record, experience, business
methods and so on have been grossly exaggerated and just don't stack up,” and noting that FBI has on multiple
occasions visited the website after having searched for the term “Derwick.”).


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           Batiz also wrote a piece exploring the questions surrounding suppliers of electricity
           equipment in Venezuela that were likely overcharging (including Derwick Associates in
           that group).

      x    A number of postings written by a Christian Science Monitor correspondent at the
           website Setty’s Notebook recounted the allegations against Derwick Associates
           regarding the contracts; the website editor later received a letter from Derwick
           Associates’ attorneys threatening legal action.21

          117.    For his work exposing Derwick Associates, Batiz was awarded an honorable

mention at the Latin American Conference on Investigative Journalism in March, 2012, and was

awarded an honorable mention for the Peruvian Latin American Award for Investigative

Journalism.

          118.    Batiz’s work was highlighted in a book published in July 2013 entitled, Estado

Delincuente: Como actúa la delincuencia organizada en Venezuela (“Rogue State: How

Organized Crime Operates in Venezuela,” in English), by authors Carlos Tablante (“Tablante”)

and Marcos Tarre (“Tarre”). Tablante is a former governor, senator and cabinet minister of

Venezuela. Rogue State chronicles how the Venezuelan state has been thoroughly corrupted by

individuals like Defendants.

          119.    Derwick Associates is discussed in Rogue State. Tablante and Tarre discuss

multiple transactions benefitting Derwick Associates, including: (a) the sale by Derwick of Rolls

Royce Trent 60 machines for $34.6 million each, where a Rolls Royce press release in 2010

ascribes a cost of only $18.3 million per machine (p. 186), and (b) the purchase of four

thermoelectric power plants from the United States to be installed in Sidor, Venezuela, to begin

operating in 2010 (p. 204). According to the authors, “not one kilowatt” has been produced by



21
          See Posting to Setty’s Notebook, October 12, 2012, available at
http://settysoutham.wordpress.com/2012/10/12/derwick-associates-censorship/ (last accessed January 9, 2014)
(Derwick Associates “has had incredible success in the three years since it was founded, gaining hundreds of
millions of dollars in contracts to procure generating turbines and other materials and to then build electricity plants.
Press reports have raised questions about exactly how Derwick got so big, so fast.”)


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the four Sidor power plants (p. 205). One has been installed but is not in use; a second is

inactive and abandoned at Sidor; and the fate of the other two is unknown (id.). The book also

discusses how the Davos Financial Group’s affiliate (discussed herein) receives transfers of

funds arising from bribery transactions.

        120.     Alek Boyd, columnist for Colombia’s Semana magazine and editor of the Infodio

website (www.infodio.com), has written a number of articles on his news website detailing

allegations of improper payments by Defendants and Derwick Associates in the securing of the

aforementioned energy contracts. As described by Boyd, “Derwick Associates is a fine example

of a cast of criminal enterprises that have flourished under Hugo Chavez’s galloping and

irresponsible waste.”22

        121.     Even The New York Times has implicitly questioned the business practices of

Defendants in a September 12, 2012 article discussing various financial “scandals,” where “ghost

companies” landed energy “contracts worth hundreds of millions of dollar … at shamelessly

inflated prices.”

        122.     Newspaper articles, blog entries and the like are often relied upon as a credible

source of information by United States government officials for launching criminal

investigations. On this topic, Lanny Breuer, former U.S. Assistant Attorney General for the

Criminal Division of the U.S. Department of Justice, has stated:

        Although many of these cases come to us through voluntary disclosures, which
        we certainly encourage and will appropriately reward, I want to be clear: the
        majority of our cases do not come from voluntary disclosures. They are the result
        of pro-active investigations, whistleblower tips, newspaper stories, referrals from




22
        See Posting to Infodio, March 10, 2012, available at http://infodio.com/content/derwick-associates-exhibit-
x-venezuelas-corrupt-criminals (last accessed January 9, 2014).


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        our law enforcement counterparts in foreign countries, and our Embassy
        personnel abroad, among other sources.23

        123.     Defendants’ corruption is so blatant that it is becoming uncomfortable even to

some members of the Venezuelan regime. On or about October 31, 2013, a former mayor and

police chief named Freddy Bernal, a central figure in the regime, gave an interview on a pro-

regime television station in Venezuela where he called for an investigation into Derwick

Associates, citing specifically Defendants’ ostentatious New York properties and other

expenditures.24

Defendants’ Ongoing Campaign of Concealment

        124.     In order to perpetuate their illegal scheme and avoid criminal prosecution,

Defendants must deter or cut short any investigation into their activities. Over the last year,

Defendants have targeted journalists, media outlets, private citizens, and former government

officials in the United States. Defendants use lawsuits and threats to sue, apply political and

financial pressure, and use abusive business tactics, all in order to ensure that critics of the

ChavezKids are severely and swiftly punished and others made afraid to come forward.

        125.     The pièce de résistance in Defendants’ campaign of concealment was the very

public Florida Defamation Suit filed in September 2012 by Defendants Betancourt, Trebbau, and

Derwick Associates in the Circuit Court of Miami, Florida. The Florida Defamation Suit sought

damages in excess of $300 million from Banco Venezolano, one of the oldest and most respected

banks in Venezuela with offices in the United States, and its President, Oscar Garcia Mendoza




23
         Lanny A. Breuer, Address at the 22nd National Forum on the Foreign Corrupt Practices Act (November 17,
2009), available at http://online.wsj.com/public/resources/documents/111709breuerremarks.pdf (last accessed
January 13, 2014).
24
          See Posting to Setty’s Notebook, October 23, 2013, available at
http://settysoutham.wordpress.com/2013/10/23/chavista-freddy-bernal-calls-for-investigation-of-derwick-associates/
(last accessed January 10, 2014).


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(“Garcia Mendoza”), a vocal opponent of the Chavez regime and one of the few bankers in

Venezuela who refuses to do business with the Venezuelan government.

       126.    In addition to suing Banco Venezolano in Florida, Defendants Betancourt,

Trebbau, and Derwick Associates filed the New York Defamation Suit in New York state court,

alleging, among other things, claims for defamation tracking those alleged in the Florida

Defamation Suit. See Derwick Associates Corp., et al. v. John Does 1-10 (Supreme Court of the

State of New York, County of New York), Index No. 653345/12. The New York Defamation

Suit, like the Florida Defamation Suit, was voluntarily withdrawn by Defendants.

       127.    The Florida Defamation Suit alleged that Banco Venezolano, its chairman Garcia

Mendoza, and another director created and spread defamatory information concerning Derwick

Associates and its founders on an Internet website named wikianticorrupcion.org. Defendants

claimed that statements concerning Derwick Associates’ unscrupulous business methods on the

website “have been repeated hundreds of times on other Internet sites, Twitter, and various news

outlets,” entitling them to hundreds of millions of dollars in damages.

       128.    In their initial complaint (the “Defamation Complaint”), Defendants Betancourt

and Trebbau alleged that Garcia Mendoza and Banco Venezolano caused the

wikianticorrupcion.org website to publish allegations that, among other things, Defendants

Betancourt and Trebbau, through Derwick Associates:

               x   “Launder[ed] the money originating from oil and electricity corruption and
                   join[ed] illegal financial deals.”

               x   “Found[ed] another Venezuelan financial entity through which they continued
                   to launder the money that was the product of their crimes.”

               x   “Were involved in the theft of 500 million dollars from another Venezuelan
                   corporation, Corporacion Venezolana de Guayana (CVG).”

               x   “Stole the amount of one point three billion dollars ($1.3 BILLION) from
                   CVG.”


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                x   “Are part of a ‘criminal group’ that have amassed a ‘pot … [of] up to about
                    two billion dollars (US$ 2.0 billion) … through which [they] launder money
                    by making investments.’”

        129.    The Defamation Complaint also accused Garcia Mendoza and Banco Venezolano

of causing the wikianticorrupcion.org website to publish statements that Betancourt, as “the

gang’s boss, would be the owner of most of the so-called pot, circa $800 million, which he has

put into international banks,” and that “[Derwick’s] entire fortune was made in less than three

years and with absolutely high profile, trampling on and threatening even journalists with total

impunity, while [Betancourt] was supported by his good relationships with police officers, public

prosecutors, governors and ministers.”

        130.    The Florida Defamation Suit, which was brought in the United States and not in

Venezuela, was widely reported in the news media and on the Internet given the parties involved

and the enormous amount of damages being sought. Indeed, news of the Florida Defamation

Suit traveled quickly and had the chilling effect Defendants desired – on everyone but,

apparently, the Banco Venezolano defendants.

        131.    Certain of the Banco Venezolano defendants moved forward on the opportunity to

engage in discovery in the Florida Defamation Suit. During discovery, Betancourt and Trebbau

(and Derwick Associates) would have been required to produce documents (including emails and

financial documents) and sit for depositions concerning the substance of the alleged defamatory

statements, i.e., their business practices.

        132.    Through discovery and trial, each of Betancourt, Trebbau and D’Agostino

(through Derwick Associates) would have had the opportunity to pursue a legal process that,

ostensibly, could have cleared their sullied reputations. Rather than pursue the discovery process

and prove their claims, each of Betancourt, Trebbau and D’Agostino (through Derwick

Associates) moved for a stay of discovery and, then, opted to settle the case. Indeed, Defendants


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agreed to voluntarily dismiss the Florida Defamation Suit in April 2013 – mere months after it

was commenced – and before any material discovery could take place.

       133.    It has been reported that Betancourt, Trebbau, and Derwick Associates agreed to

settle their $300 million Florida Defamation Suit without having received payment of even a

single dollar from Banco Venezuela or anyone else.

       134.    Although it has been reported that Banco Venezolano, Garcia Mendoza, and the

other defendants in the Florida Defamation Suit filed a motion to dismiss the Florida Defamation

Suit, those documents (as well as all other substantive documents in the case) had disappeared as

of July 2013 from the public case file in Miami-Dade County. Some of these materials have now

apparently reappeared.

       135.    In or about October 2012, Defendants’ New York-based counsel in the Florida

and New York defamation suits sent letters to (a) Mr. Steven Bodzin, now a correspondent for

Monocle and the Christian Science Monitor, and the editor of the website

http://settysoutham.wordpress.com; (b) Mr. Robert Bottome, President of Veneconomia; and (c)

Mr. Miguel Octavio, who Defendants wrongfully claimed was the author of the blogspot

http://venepiramides.blogspot.com, threatening legal action if those individuals did not remove

from their websites articles concerning Derwick Associates (and Defendants).

Defendants Intentionally Spread False Information
To Destroy ORA’s Business Relationship with Banco Venezolano

       136.    In October and November 2012, shortly after the Florida Defamation Suit was

commenced, Banco Venezolano entered into negotiations with ORA to assist in defending

against the claims made in the Florida Defamation Suit and to provide unrelated business and

consulting services to Banco Venezolano in the United States.




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         137.    Banco Venezolano was very interested in retaining Ambassador Reich in part

because he has repeatedly spoken out against the types of schemes from which Defendants have

profited (and, upon information and belief, which Defendants were trying to cover up by suing

Banco Venezolano). To illustrate, in a recent article in the Miami Herald, Ambassador Reich

wrote:

                 In Chávez’s Venezuela, [] a politically favored group (some with
                 no previous experience in complex sectors such as energy and
                 finance) were able to accumulate [] fortunes that allow them to
                 purchase luxury mansions in the U.S. … most of the culprits live in
                 or come regularly to this country … They use U.S. banks to move
                 money and to maintain their extravagant properties … To cover
                 their tracks and attempt to enjoy the privilege of living in our
                 country, some ‘Boligarchs’ have launched lawsuits against honest
                 Venezuelan businessmen in American courts. The purpose is to
                 create a smokescreen to hide behind, and prevent the U.S.
                 government from expelling the real offenders … [amassing their
                 wealth from the] illegitimate awards of government contracts, from
                 kickbacks and other gifts to government officials and from other
                 unethical and immoral activities.25

         138.    Banco Venezolano also sought ORA’s assistance in connection with the claims

made against it by Betancourt, Trebbau, and Derwick Associates, including investigation into

Derwick Associates’ business practices in the United States.

         139.    This would have been a significant business relationship for ORA with an

important institutional client. By late November 2012, negotiations between the bank and ORA

had advanced to the stage that the parties understood that ORA would charge $20,000 per month

for consulting services, to commence immediately. The agreed-upon contract was to be project-

based, with the initial project estimated to last at least six months. Additional amounts were to




25
         See Otto J. Reich and Ezequiel Vasquez-Ger, “Venezuela’s Chavez and his U.S. Business Partners,” Miami
Herald, available at http://www.miamiherald.com/2013/03/02/3262092/venezuelas-hugo-chavez-and-
his.html#storylink=cpy (last accessed January 9, 2014).


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be provided by Banco Venezolano to cover up to $20,000 per month in out-of-pocket expenses

such as meals, travel, hotels, and the like.

       140.    As the former United States Ambassador to Venezuela, Ambassador Reich is a

well-respected individual within the Venezuelan émigré community, with an impressive and

impeccable reputation. Equally important, Ambassador Reich has a wealth of contacts and

relationships throughout the United States/Venezuelan community and, as such, was well

positioned to uncover the details of Defendants’ pattern of racketeering activity. Defendants,

having learned of his negotiations with Banco Venezolano, were determined to prevent Banco

Venezolano from engaging Ambassador Reich, whom Defendants perceived would be a threat

not only to the successful prosecution of their claims against Banco Venezolano but, more

importantly, to their ability to conduct “business as usual.” ORA’s retention by Banco

Venezolano would have substantially strengthened the legal positions of Banco Venezolano and

dramatically altered public opinion (both in the United States and abroad) concerning the alleged

merits of Defendants’ Defamation Suits. Ambassador Reich’s agreement to formally assist

Banco Venezolano in its defense would have sent a clear message throughout the Venezuelan

émigré community in the United States and to those in Venezuela who were closely following

the Defamations Suits that the truth would come out.

       141.    In late November 2012, one of Defendants’ agents in Washington, D.C. tried to

persuade Ambassador Reich not to do business with the Banco Venezolano, and instead to

provide ORA’s services to Derwick Associates, promising Ambassador Reich “a lot of money.”

Ambassador Reich would not be bought off by the Defendants and refused to work for Derwick

Associates.




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       142.    Not dissuaded, Defendants persisted in their attempts to woo Ambassador Reich.

Defendants wanted Ambassador Reich on their team and not aligned with Banco Venezolano.

Several days later, on December 6, 2012, Defendants’ agent again tried to “persuade”

Ambassador Reich to work for them. Again, Ambassador Reich refused to join forces with

Defendants.

       143.    On December 7, 2012, Ambassador Reich was scheduled to meet with a

representative of Banco Venezolano named Cesar Briceño (“Briceño”) at the office of Banco

Venezolano’s U.S. attorneys in Miami, Florida.

       144.    On the same day as the meeting with Ambassador Reich, Defendants caused

Derwick Associates to file an Amended Complaint in the Florida Defamation Suit and, upon

information and belief, to serve Cesar Briceño (a representative of Banco Venezolano) with legal

papers when he arrived at the Miami airport. The Amended Complaint named Briceño as a

defendant and alleged that Briceño had met in Miami in “December 2102” with a “former U.S.

government official” for the alleged purpose of “provid[ing] false information of criminal

wrongdoing by [Defendants]” to that “former U.S. government official.” The meeting

referenced in the Amended Complaint as having occurred in “December 2012,” was the

December 7, 2012 meeting between Ambassador Reich and Briceño. In other words, the

Amended Complaint described a meeting that had yet to occur when the Amended Complaint

was filed. A lawyer for Derwick Associates later confirmed to Banco Venezolano’s lawyer that

the reference in the Amended Complaint to a “former government official” was indeed meant to

refer to Ambassador Reich.

       145.    The motive and objective of including that piece of information in the Amended

Complaint (filed on the same day as the meeting in Miami) was to give Banco Venezolano the




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false impression that Ambassador Reich was a “double agent” working for Derwick Associates,

and that Ambassador Reich had shared the location and timing of his December 7, 2012 meeting

with Briceño with Derwick Associates in order to allow legal papers to be served upon Briceño.

       146.    That was not true. Ambassador Reich never worked for, or with, Derwick

Associates, and never acted on their behalf in any regard. Moreover, Ambassador Reich does

not know how Defendants knew of his December 7, 2012 meeting with Briceño. He did not

provide Defendants with that information.

       147.    Defendants continued to try to drive a wedge between ORA and Banco

Venezolano, this time successfully. Shortly after Ambassador Reich’s meeting with Briceño in

Miami, Betancourt and Trebbau, who are believed to have been in New York then, placed a call

to their partner (and Betancourt’s cousin) Convit-Guruceaga. They instructed Convit-Guruceaga

to call Joaquin Urbano Berrizbeitia (“Urbano”), one of Banco Venezolano’s largest shareholders,

who also sits on the Banco Venezolano board of directors. Defendants directed Convit-

Guruceaga to (falsely) tell Urbano that “Otto Reich is working for us.”

       148.    On or about December 20, 2012, Convit-Guruceaga placed the call, and conveyed

that false information to Urbano. Urbano then relayed that message to Banco Venezolano’s

leadership. As a result, the bank (including its board of directors) believed that Ambassador

Reich was working for Derwick Associates, the party that was suing it for $300 million. Banco

Venezolano also came to believe (falsely) that Ambassador Reich was working for and/or

affiliated with an enterprise (Derwick Associates) that had profited wildly from the corruption of

Venezuela’s energy sector.




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        149.    The communication that “Otto Reich is working for us” was false, and each

Defendant (and Convit-Guruceaga, who is not a defendant to this action) knew it was false when

it was made.

        150.    In or about the last week of December 2012, Banco Venezolano ceased all

communications with Ambassador Reich as a result of the false information conveyed to it. A

major business and contractual relationship worth at least $20,000 per month, was lost.

Defendants Intentionally Spread False Information,
Which Destroyed Plaintiffs’ Business and Contractual Relationship with Eligio Cedeño

        151.    In October 2010, two years prior to the Florida Defamation Suit, ORA was hired

by an individual named Eligio Cedeño (“Cedeño”) to provide consulting services. Cedeño

resides full time in the United States.

        152.    At one point, Cedeño was a prominent Venezuelan citizen involved in the

financial industry. In 2003, Cedeño served as President for Banco Canarias de Venezuela C.A.,

a financial institution based in Caracas, Venezuela. Cedeño was also an outspoken opponent of

the Venezuelan government, specifically the regime of Hugo Chavez, and he supported a number

of anti-Chavez figures in Venezuela.

        153.    In 2007, Cedeño was arrested by the Chavez government and held as a political

prisoner for more than two years without trial. He was freed upon recommendation by the

United Nations Working Group on Arbitrary Detention. Immediately upon his release, Cedeño

fled to Miami, Florida, and requested political asylum in the United States. He was granted

asylum in May 18, 2011.26




26
          See “U.S. Grants Asylum to Chavez Opponent,” Wall Street Journal, May 19, 2011, available at
http://online.wsj.com/article/SB10001424052748704281504576331681585940852.html (last accessed January 9,
2014).


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         154.   Following his arrival in the United States in 2010, Cedeño retained ORA to

consult on government relations affairs, specifically regarding Cedeño’s status as a vocal

opponent of the Chavez regime, as well as to assist Cedeño’s efforts to re-establish his business

affairs in his new home, the United Sates.

         155.   The agreement between ORA and Cedeño called for the payment of $20,000 per

month to ORA. Cedeño paid this amount monthly beginning in 2010. Pursuant to the contract

between ORA and Cedeño, the business relationship was to continue indefinitely.

         156.   Given his long experience with the Venezuelan government and finance industry,

Cedeño knew that Defendants were accused of engaging in corrupt activities in Venezuela,

including bribery of energy-sector officials in exchange for government contracts, as described

above.

         157.   In late 2012, during their campaign to undermine Ambassador Reich’s

relationship with Banco Venezolano, Defendants Betancourt, Trebbau, and D’Agostino learned

that Cedeño was a client of ORA. Defendants agreed amongst themselves to (falsely) tell

Cedeño that Ambassador Reich was working for Derwick Associates.

         158.   Defendants knew that if Cedeño was falsely convinced that ORA was working or

otherwise associated with Derwick Associates, Cedeño would terminate his consulting contract

with ORA, and word would continue to spread (including to Banco Venezolano) and throughout

the U.S.-based marketplace that Ambassador Reich and ORA served, that Otto Reich was

aligned with Derwick Associates.

         159.   To effectuate the scheme, Defendant Betancourt placed a telephone call in

November 2012 from what is believed to be his home in New York, to Cedeño, who was then in

Miami.




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       160.   During that conversation, Defendant Betancourt told Cedeño that ORA had been

retained by Derwick Associates to offer consulting services. Defendant Betancourt further told

Cedeño that Derwick Associates had an ongoing arrangement with Ambassador Reich for a

proposed business venture in Panama. Neither of those statements was true.

       161.   Upon information and belief, at or about the same time, Eloy Montenegro

(“Montenegro”), who is Defendant Trebbau’s father-in-law made phone calls to Cedeño and/or

his agents in which Montenegro stated, in sum and substance, that “Otto Reich is working for

Derwick.” At the time that Montenegro communicated this false information, he was acting as

an agent of not only Trebbau, but for the other Defendants.

       162.   Days after his telephone conversation with Defendant Betancourt, Cedeño

terminated his agreement with ORA.

       163.   At that time, Ambassador Reich was unaware that Betancourt had called Cedeño

and relayed false information to him concerning Ambassador Reich’s alleged relationship with

Derwick Associates. As such, Ambassador Reich could do nothing to counter the false

statements made to Cedeño.

       164.   In a later phone conversation between Ambassador Reich and Cedeño,

Ambassador Reich learned what Cedeño had been (falsely) told about the “relationship” between

Plaintiffs and Derwick Associates, and about Ambassador Reich’s purported “business venture”

in Panama with Betancourt. Even though this information was proven to be false, Cedeño

continued to question Ambassador Reich’s allegiances. In fact, before the Original Complaint

was filed, Cedeño made specific reference to Betancourt’s project in Panama, asking

Ambassador Reich again whether he was sure “you weren’t in Panama” at a particular time.




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Defendant D’Agostino is a Founder, Owner, Operator
and Agent of Derwick Associates, and Directs its Activities

       165.    While Betancourt and Trebbau are the public faces of Derwick Associates,

Defendant D’Agostino, upon information and belief, is a founder, owner and operator of the

company, and directs and manages its daily activities. Upon information and belief, initial

financing for Derwick Associates was procured by D’Agostino through the use of his family’s

monies.

       166.    Prior to the commencement of this lawsuit, D’Agostino had acknowledged and

admitted to being a key player and member of Derwick Associates’ inner circle.

       167.    For instance, in late 2012, a human rights advocate and respected journalist (the

“Forbes Writer”) was preparing to publish a story about Derwick Associates in Forbes

magazine.

       168.    Prior to publication of the piece, the Forbes Writer sent a November 15, 2012

email to ProEnergy Services inquiring about “the role of Derwick and the cost of the [energy]

project” and commenting that “[t]here are numerous published allegations in Venezuela

regarding overbilling by Derwick as well as more sensational allegations of money laundering.”

       169.    As alleged more thoroughly above, ProEnergy Services is the U.S.-based

company that does substantially all of the engineering, construction, and operation of the

facilities for which Derwick Associates contracted with the Venezuelan government. The

Derwick Associates-ProEnergy relationship is even mentioned in the 2013 book, Rogue State:

How Organized Crime Operates in Venezuela.

       170.    Within days of sending the email to ProEnergy Services, the Forbes Writer

received several text messages and telephone calls from Defendant D’Agostino. The Forbes




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Writer, who knew D’Agostino from childhood, had not spoken to D’Agostino in at least a

decade.

         171.   In his conversation with the Forbes Writer, D’Agostino spoke about the business

of Derwick Associates. He also inquired about the article that the Forbes Writer was working on

about Derwick Associates, and attempted to dissuade the Forbes Writer from publishing the

piece.

         172.   In an attempt to convince the Forbes Writer that Derwick Associates is a

legitimate and law-abiding company, D’Agostino offered to share with the Forbes Writer,

Derwick Associates’ contracts with the Venezuelan government as well as its contracts with

ProEnergy Services. D’Agostino also agreed to disclose Derwick Associates’ audited financial

statements. Defendants Betancourt and Trebbau have publicly maintained for years that

Derwick Associates’ contracts with the Venezuelan government are “confidential.”

D’Agostino’s offer to share those contracts (and Derwick Associates’ audited financial

statements) with the Forbes Writer proves (at a minimum) that D’Agostino is a key player within

Derwick Associates who possesses intimate knowledge of Derwick Associates’ business. If

D’Agostino were not a key player or member of Derwick Associates’ inner circle, be it as a

founder, de facto owner, operator, manager, agent or the equivalent, he would not have had

access to documents that Defendants Betancourt and Trebbau have publicly maintained are

“confidential” nor would he have access to Derwick Associates’ financials.

         173.   Shortly before November 20, 2012, D’Agostino invited the Forbes Writer to

dinner in Los Angeles, California, to meet with him and Betancourt. D’Agostino agreed to bring

with him the Derwick Associates’ contracts and financials.




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        174.   On or about November 20, 2012, Forbes magazine in New York received a letter

from Betancourt, Trebbau, and Derwick Associates’ New York counsel in the Florida and New

York Defamation Suits, warning them not to publish the Forbes Writer’s piece. Fearing legal

action, Forbes magazine declined to go forward with the piece.

        175.   A similar letter was sent by Betancourt, Trebbau, and Derwick Associates’ New

York counsel to The Huffington Post, with whom the Forbes Writer had previously published

articles.

        176.   The Forbes Writer and D’Agostino thereafter exchanged a number of text

messages. Those text messages would later be referenced in an Amended Complaint filed by

Derwick Associates, Betancourt, and Trebbau in the Florida Defamation Suit – evidence that

D’Agostino was working with Betancourt, Trebbau and Derwick Associates in their legal efforts

and that D’Agostino had supplied the Forbes Writer’s text messages to their New York legal

counsel.

        177.   Upon information and belief, at Defendants’ request, Montenegro also pressured

the Forbes Writer in connection with the ultimately scuttled Forbes piece.

Defendants’ Conspiracy was Conceived and Orchestrated in the
United States and Involves Predominately United States Enterprises

        178.   As discussed herein, as part of their pattern of racketeering activity, Defendants

direct, control and coordinate virtually all aspects of global strategy, as well as the day-to-day

activities of Derwick Associates, from the United States.

        Defendants Admit in Formal Documents Publicly-Filed With The
        United States Government that Derwick Associates is a U.S. Business

        179.   In December 2013, Derwick Associates hired a U.S.-based lobbying firm, the

Volkov Law Group LLC (the “Volkov Group”), to represent and advance its business interests in




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the United States. Defendants’ retention of the Volkov Group reflects that they are actively

seeking new business with other domestic and foreign governments and entities in a manner

consistent with their past business practices.

        180.    The Volkov Group formally filed the required LD-1 Disclosure Form on behalf of

Derwick Associates with the United States Government. In response to a question on the LD-1

Disclosure Form concerning “foreign entities,” Derwick Associates represented that there are no

foreign entities that (i) hold at least 20% equitable ownership in Derwick Associates or any

affiliated organization; (ii) directly or indirectly, in whole or in major part, plan, supervise,

control, direct, finance or subsidize the activities of Derwick Associates or any affiliated

organization; and (iii) are affiliated with Derwick Associates or any affiliated organization that

has a direct interest in the outcome of the lobbying activity.

        181.    The Volkov Law Group is part of a group of companies that includes the Volkov

Energy Consulting Group. According to its website, the Volkov Energy Consulting Group

“guides energy clients through the global political, business and organizational landscape to

produce bottom-line results.” Upon information and belief, Defendants retained the Washington,

D.C.-based Volkov Law Group to guide them “through the global political, business and

organizational [energy-contracting] landscape.”

        182.    In a press release issued on November 9, 2013 in the United States by a U.S.-

based press agent (Brandon Hopkins) using a U.S.-based press release service (PRWeb),

Derwick Associates announced that Betancourt and Trebbau had met with the government of




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Spain to potentially supply power plants to that country. In the U.S.-issued press release,

Derwick Associates expressed an interest in continuing their energy business in Spain.27

        Defendants Rely Heavily on
        U.S.-based Businesses to Construct the Power Plants

        183.     By Defendants’ own admissions, Derwick Associates relies heavily on several

U.S.-based companies, including General Electric, Pratt & Whitney, and ProEnergy Services to

provide the materials and services needed to construct the power plants.

        Defendants Use New York based J.P. Morgan and Davos
        Financial to Funnel Their Illicit Profits into the United States

        184.     Upon information and belief, the profits realized under the contracts by

Defendants were funneled through J.P. Morgan and Davos Financial in New York (along with

other financial institutions).

        185.     At all relevant times, Defendants’ personal banker at J.P. Morgan was an

individual named Eduardo Travieso (“Travieso”), a Vice President in the Private Banking

Division who was located in New York, New York.

        186.     It has been reported that while at J.P. Morgan, Travieso was tasked by Derwick

Associates to obscure the source of their ill-gotten gains.28 The scheme worked like this: after

wire transfers from Venezuela placed significant funds in Derwick Associates’ accounts,

Travieso would buy – and then almost immediately sell – significant quantities of bonds, and

then wire the money out of Derwick Associates’ account (most often to Derwick Associates’

accounts at Davos Financial Group), thus obscuring the true source of the funds.

27
         Available at
http://www.prweb.com/releases/DerwickAndAssociates/PowerPlantSpain/prweb11297806.htm (last accessed
January 12, 2014).
28
          See Posting to Infodio, October 2, 2013, available at
http://infodio.com/021013/eduardo/travieso/derwick/associates/jp/morgan (last accessed January 12, 2014); Posting
to Infodio, July 31, 2013, available at http://infodio.com/310713/eduardo/travieso/jp/morgan/derwick/associates
(last accessed January 12, 2014).


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       187.    On March 21, 2013, according to a required U.S. regulatory filing with FINRA,

Travieso separated from J.P. Morgan following allegations that Travieso had potentially

committed violations of investment-related statutes, fraud, or failure to supervise in connection

with investment-related statutes, arising from certain undisclosed customer interactions by

Travieso. In the filing, J.P. Morgan has stated publicly that “Mr. Travieso acted in a manner that

is inconsistent with the Firm’s policies and procedures,” and had “fallen short of the standards”

of financial industry employees.

       188.    Travieso was not only Derwick Associates’ banker; he was and remains a

personal friend of the Defendants. Indeed, Travieso helped at least one of them secure real

property in New York and also procure financing from United States banks.

       189.    According to public documents, Defendant Betancourt currently resides at the

Olympic Tower, 641 Fifth Avenue, Penthouse 6, New York, New York 10022. The Olympic

Tower is considered one of the top full-service white glove luxury buildings in New York City,

and is a symbol of the financial empire of the late Greek shipping magnate Aristotle Onassis and

his wife, the former First Lady Jacqueline Kennedy. Sale documents filed with the New York

City Department of Finance, Office of the City Register, indicate that Penthouse 6 was purchased

on November 23, 2010 by a company named BL 641 Fifth LLC. Upon information and belief,

“BL” in the company name stands for “Betancourt Lopez.” Upon information and belief,

Defendant Betancourt is the effective owner of Penthouse 6, and he (or one of his corporate

entities) has been paying and continues to pay New York real estate taxes on that property.

       190.    Penthouse 6 is subject to a $5.85 million mortgage financed by J.P. Morgan.

David Levine, an attorney with the New York law firm, Platte, Klarsfeld, Levine & Lachtman, is

identified on the mortgage documents as the “Manager” of BL 641 Fifth, LLC and, upon




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information and belief, has been paid in U.S. dollars by Defendant Betancourt for his New York-

focused services as manager of BL 641 Fifth, LLC.

       191.    The Real Property Transfer Report filed with the State of New York for

Penthouse 6 indicates that an individual named Eduardo Travieso signed as “Buyer” for BL 641

Fifth LLC. Upon information and belief, when he signed that document, Travieso worked for

J.P. Morgan Securities LLC in New York. In other words, Travieso (for the benefit of

Betancourt) appears to have been on both sides of the mortgage finance transaction, i.e., as the

buyer of the real property and as the financier of the acquisition.

       192.    Upon information and belief, Defendants also use Davos Financial Advisors, LLC

(d/b/a Davos Financial Group), a financial services firm that maintains offices in New York and

Florida, to move their ill-gotten funds.

       193.    According to S.E.C. filings, Davos Financial Advisors, LLC is headquartered in

the United States at 2665 S. Bayshore Drive, Suite 810, Coconut Grove, Florida, 33133. That

location is also registered as the headquarters of two other businesses managed by David Osio –

Davos Mortgage Investors, LLC, and Carraven, LLC. According to its website, Davos Financial

Group maintains offices in New York at 405 Park Avenue, 17th Floor, New York, NY 10022.

       194.    In publicly-filed documents, Derwick Associates claims that, in order for it to

participate in the Venezuelan energy market, it was required to purchase and provide a U.S.-

based original equipment manufacturer with a surety bond for approximately U.S. $500,000 in

exchange for a one-month exclusivity period. During that period, Derwick Associates says that

it was contractually required either to sell the equipment to a third party or, if unable to obtain a




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purchaser, forfeit the $500,000 amount of the surety bond.29 Upon information and belief, the

negotiations, paperwork, financing efforts and the other conduct necessary to agree-upon and

memorialize such transactions here in the United States reflect the U.S.-based focus of

Defendants’ business efforts as well as their reliance on U.S.-based businesses.

         Derwick Associates And the Defendants
         Market Their Business Activities in the U.S.

         195.     Derwick Associates promotes its business in the United States to prospective

clients. Upon information and belief, in a recent project proposal to the dictatorship of

Suriname, Derwick Associates claimed in a PowerPoint presentation to have constructed the

Harry D. Mattison Power Plant in Tontitown, Arkansas.

         196.     Derwick Associates and Defendants also employ U.S.-based public relations

firms to create “good press” about Defendants and the company and its affiliates in the United

States where Derwick Associates’ business and banking relationships are located.

         197.     Defendants have retained and caused to be paid at least two U.S.-based press

release services to distribute positive press pieces about Defendants and Derwick Associates: PR

Newswire, which is a U.S.-based business with its headquarters in New York City, and PRWeb,

which is a U.S.-based business with offices in Virginia, Maryland and Washington, D.C. Press

releases issued on behalf of PRWeb and PR Newswire are sent to journalists in New York City,

including at The New York Times.

         198.     That Defendants continue to self-promote their business interests here in the

United States by issuing English language press releases via a U.S.-based public relations

company with a California phone number, and availing themselves of the New York media


29
         Of note, the currency of Venezuela is the Venezuelan Bolivar; yet, Defendants, in their court filings,
discuss their business practices in U.S. Dollars (and not Bolivars) lending further proof to the U.S.-based nature of
Defendants’ business.


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market reflects that Defendants have substantial business interests that they wish to protect and

advance in the United States.

        199.   Within the past six months alone, Defendants have issued the following press

releases in the United States concerning Derwick Associates:

   x    On January 10, 2014, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets about how Defendants
        work to “meet the needs of the Venezuelan people.” The press release referenced
        Betancourt and Trebbau, and acknowledged that they intend to continue to seek out
        business in Venezuela as opportunities are presented. See January 10, 2014, PR
        Newswire, Media Contact: Brandon Hopkins, AfterHim Media LLC, (559) 871-1613,
        brandonchopkins@gmail.com, available at http://m.prnewswire.com/news-
        releases/derwick-associates-continues-to-meet-the-needs-of-the-venezuelan-people-
        239623871.html (last accessed January 12, 2014).

   x    On January 9, 2014, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets about an “award” they
        supposedly received. The press release referenced Betancourt and Trebbau and, then,
        quotes from an unnamed “representative with Derwick.” See December 31, 2013, PR
        Newswire, Media Contact: Brandon Hopkins, AfterHim Media LLC, (559) 871-1613,
        brandonchopkins@gmail.com, available at http://m.prnewswire.com/news-
        releases/derwick-associates-wins-capital-award-for-best-latin-american-initiative-
        238240221.html (last accessed January 12, 2014).

   x    On December 31, 2013, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets that they are looking “to
        bring [their] unique brand of experience” to Spain. Defendants stated that their business
        “experience” makes them “uniquely qualified for this opportunity to expand.” See
        January 9, 2014, PRWeb, Contact: Brandon Hopkins SunsetReputation.com, (559) 871-
        1613, available at http://www.prweb.com/releases/Pedro-Trebbau-Lopez/Derwick-
        Associates/prweb11477028.htm (last accessed January 12, 2014) (“Derwick Associates
        looks to expand”).

   x    On December 26, 2013, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets about Betancourt’s views
        of Derwick Associates’ business. See December 26, 2013, PRWeb, Contact: Brandon
        Hopkins SunsetReputation.com, (559) 871-1613, available at
        http://www.prweb.com/releases/Leopoldo-Alejandro/Betancourt-Lopez-
        Derwick/prweb11443299.htm (last accessed January 12, 2014).



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   x    On December 25, 2013, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets about how Derwick
        Associates’ business experience has supposedly been well documented. See December
        25, 2013, PRWeb, Contact: Brandon Hopkins SunsetReputation.com, (559) 871-1613,
        available at
        http://www.prweb.com/releases/FranciscoConvitGuruceaga/Derwick_Associates/prweb1
        1443290.htm (last accessed January 12, 2014).

   x    On November 9, 2013, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets that “the directors of
        Derwick Associates have expressed an interest in taking their projects overseas.” See
        “Derwick Associates Looking to Build Power Plants in Spain,” November 9, 2013,
        PRWeb, Contact: Brandon Hopkins SunsetReputation.com, (559) 871-1613, available at
        http://www.prweb.com/releases/DerwickAndAssociates/PowerPlantSpain/prweb1129780
        6.htm (last accessed January 12, 2014).

   x    On November 6, 2013, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets about how Defendants
        intend to continue “power plant construction in 2014.” See November 6, 2013, PRWeb,
        Contact: Brandon Hopkins SunsetReputation.com, (559) 871-1613, available at
        http://www.prweb.com/releases/DerwickAssociates/Venezuela-Power-Plant-
        Job/prweb11297808.htm (last accessed January 12, 2014).

   x    On November 5, 2013, Defendants caused their public relations company to prepare and
        issue a press release from the United States (published in English) for the specific
        purpose of boasting to the United States and New York markets that “Derwick is seeking
        opportunities abroad.” See “Derwick Associates to Seek Investment Opportunities in
        Spain,” November 5, 2013, PRWeb, Contact: Brandon Hopkins SunsetReputation.com
        (559) 871-1613, available at http://www.prweb.com/releases/Derwick-Associates/Spain-
        Expansion/prweb11297809.htm (last accessed January 12, 2014).

        200.   Upon information and belief, Derwick Associates employs online “reputation

managers” to cultivate a positive online reputation for Derwick Associates (and, by extension,

Defendants) in the United States. Such “reputation managers” create search-result clutter that

has the effect of obscuring negative information about Derwick Associates and Defendants

should an individual enter search terms like, for example, “Derwick Associates,” “Alejandro

Betancourt,” “Pedro Trebbau,” or “D’Agostino” into search engines such as Google.




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        201.    Upon information and belief, Derwick Associates employs the services of an

individual named Rafael Eladio Núñez Aponte a/k/a “RaFa” to manage their online reputations

and orchestrate smear campaigns against their opponents. “RaFa” openly admits that he was

formerly a U.S.-based hacker convicted of hacking the website of the United States Air Force,

for which he was later convicted and imprisoned. Upon information and belief, “RaFa” now

heads the online reputation company called “Clean Perception,” which has an office in Florida;

“RaFa” is an owner of the website Primicias24.com, which is discussed more fully below.

        202.    Notably, Defendants’ reputation-protecting efforts focus mostly on the English-

language media in the United States – the only place Defendants care about protecting their

reputation and projecting an air of legitimacy.

        203.    Upon information and belief, Defendants have also retained FTI Consulting, a

U.S.-based business advisory firm with an office in New York, to conduct investigative-type

services, and a California-based business known as Sunset Reputation, which also appears to be

in the business of reputation management.

        Unusual Media Events Suggest That Defendants
        May Be Trying to Manipulate the U.S. Media

        204.    On September 27, 2013, an article about Derwick Associates was published on

Forbes magazine’s website by an individual named Hilary Kramer (“Kramer”).30 Kramer’s

piece on Forbes.com was highly solicitous of Derwick Associates, claiming without attribution

that Derwick Associates secured its energy-sector contracts cleanly despite their acknowledged

“political connections,” and purporting that Derwick Associates’ contracts were audited by a

company named RSM International.


30
        See Hilary Kramer, “Changing Balance of Power May Unlock Venezuela’s Markets,” September 26, 2013,
Forbes.com, formerly available at http://www.forbes.com/sites/hilarykramer/2013/09/26/changing-balance-of-
power-may-unlock-venezuelas-markets/


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       205.    The very next day, in a highly unusual move, Forbes pulled the piece from its

website without comment. The piece has not been reposted. Kramer later issued an apology for

the piece via her personal Twitter account, claiming that she was “looking at [Derwick] purely

from a stock-picker’s perspective,” even though Derwick Associates, of course, does not issue

public stock. Forbes’ act of pulling the piece suggests that Defendants or one of their agents was

responsible for its preparation and publication in the U.S. media.

       Derwick Associates Uses the U.S. Court System
       And U.S. Laws To Protect its Business Interests

       206.    Derwick Associates also uses the U.S. court system, including the New York

courts, to protect its U.S.-based economic and financial interests. Indeed, within the last two

years, and in response to perceived threats to its business, Derwick Associates commenced two

related legal actions in the United States in state courts in New York and in Florida. In New

York, Defendants Betancourt and Trebbau and Derwick Associates sued a group of unknown

conspirators whom they alleged to be acting in concert with Banco Venezolano and the other

defendants in the Florida Defamation Suit. Derwick Associates retained legal counsel in New

York to represent its interests in both of those litigations and, upon information and belief, that

same New York law firm continues today to represent Derwick Associates’ interests.

       Derwick Associates Owns Property in the United
       States and Employs Individuals in the United States

       207.    Upon information and belief, Derwick Associates owns at least two private jets

that are registered in the United States. According to published reports, Derwick Associates

owns a Falcon 2000 business jet with tail number N229DA. The registrant for the plane in the

United States database is CSC Trust Co. of Delaware Trustee, but other registries available

online list the registrant as Derwick Associates under “OpName” for the plane. There is also a




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Cessna 550 jet with United States tail number N300CS registered to CSC Trust Company of

Delaware that lists Derwick Associates under “OpName.” “OpName” refers to “operator name.”

        208.     Upon information and belief, Defendants employ an individual named Gilbert

Deleaud (“Deleaud”), who resides in Florida, to fly their private jets. According to Federal

Aviation Administration flight records, between December 20, 2010 and June 8, 2013, the

aircraft bearing identification number N229DA, arrived in or departed from airports within the

United States, including Teterboro Airport in New Jersey, no less than 185 times. According to

its website, Teterboro Airport is less than 12 minutes from midtown Manhattan. Teterboro is the

main private jet airport serving Manhattan, which has been described as “synecdochical for the

New York Dream” and “a landmark of the social geography mapped by “Page Six,” Fortune,

and Gossip Girl.”31

        209.     Deleaud is a registered agent for EOE Management Inc., a company registered in

Florida on January 9, 2013. The registered address for EOE Management Inc. is 1100 Lee

Wagner Blvd, Suite 349, Ft Lauderdale, FL. That is the building next door to 1050 Lee Wagner

Boulevard, Suite 349, Ft Lauderdale, FL, which – as noted above – is where Derwick Associates

USA, LLC is located. Upon information and belief, Deleaud also shares a home with an

individual named Massiel Hernandez, who is listed on public documents as a registered agent for

Derwick Associates USA, LLC.




31
         See “Teterboro Airport, Ground Zero for the Private-Jet Backlash,” July 20, 2009, New York Magazine,
available at http://nymag.com/daily/intelligencer/2009/07/teterboro_airport_ground_zero.html (last accessed
January 12, 2014).


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       Derwick Associates has a United States Contact Number
       And an English Language Website that is Accessible in the United States

       210.    Derwick Associates’ electronic mail signature as used by at least Defendant

Trebbau specifically references www.derwick.com (which is a website published in English) and

lists a “USA Direct” phone number (1-786-266-7703).

       211.    Derwick Associates’ website can also be found at www.derwickassociates.com,

which is displayed in English, which further demonstrates that their business is U.S.-based; the

native language in Venezuela is not English, but Spanish.

Within Days of the Original Complaint Being Filed,
Ambassador Reich and ORA Suffer Online Attacks

       212.    It cannot be a coincidence that on August 2, 2013, only days after the Original

Complaint in this action was filed, various websites associated with Ambassador Reich and ORA

(including www.americas-forum.com; www.ottoreich.com and www.ezequielvazquez.com)

were taken offline in what appears to be an intentional denial-of-service attack.

       213.    That same day, the Infodio website, known for writing about the corruption of

Derwick Associates, was also taken offline in what appears to have been an intentional denial-of-

service (hacking) attack.

       214.    Also that day, an ORA employee witnessed attempts to hack his email via

“phishing” scams. “Phishing” scams are attempts to get the target to click on a dangerous

website or enter a password (which would then allow the hacker to infiltrate the user’s

computer). The attempts to hack Ambassador Reich and his employees emails continued into

the third week of August.




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Following the Commencement of this Lawsuit, Several
People Referenced in the Original Complaint Were
Targeted and Subjected to Personal Ridicule and Attack

        215.     After the filing of the Original Complaint in this litigation, Ambassador Reich and

at least three individuals referenced in the Original Complaint as having been perceived as

critical of Defendants and/or Derwick Associates were clumsily smeared in various media outlets

in outlandish ways.

        Ambassador Reich is Accused of Being an
        Assassin, a “Mercenary” and a “Professional Terrorist”

        216.     On or about September 25, 2013, the President of Venezuela, Nicolás Maduro,

stated publicly that the reason he did not attend the General Assembly of the United Nations in

New York City was because of unspecified “provocations” against him by Ambassador Reich.32

In response to these unfounded allegations, the United States Department of State issued a

statement categorically rejecting allegations of U.S. government involvement in any plots to

harm Venezuelan officials or to destabilize the Venezuelan government.

        217.     On or about November 21, 2013, Primicias24.com, a pro-Venezuelan government

website, posted a 47-page “special report” that purports to show that Garcia Mendoza and

Ambassador Reich are in cahoots to destabilize Venezuela. Referring to Ambassador Reich as a

“mercenary” and “professional terrorist,” the Primicias24.com report claims that Ambassador

Reich’s lawsuit against Derwick Associates is one part of a larger campaign to overthrow the

government of Venezuela (the “Primicias24 Report”).33 Upon information and belief, the




32
          See “Venezuelan Leader, Citing Plot, Skips U.N.,” Wall Street Journal, September 25, 2013, available at
http://online.wsj.com/news/articles/SB10001424052702304795804579097852798627702 (last accessed January 9,
2014).
33
       See Primicias24.com, available at http://www.primicias24.com/nacionales/plan-to-overthrow-Nicolás-
maduro-by-destroying-pdvsa/ (last accessed January 9, 2014).


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Primicias24 Report, which has been translated into English, is housed in a Google drive in the

United States.34

        218.     Primicias24.com regularly promotes articles that appear to be little more than

press releases about “good works” done by Derwick Associates,35 and gives prominent

placement to smears and attacks on Derwick Associates’ enemies. Indeed, Primicias24.com

appears to be little more than a mouthpiece for rhetoric by the Defendants.

        219.     According to publicly-available information, Primicias24.com is a U.S.-hosted

website operated by Dynadot.com, located in San Mateo, California.36 But Dynadot.com does

not actually have anything to do with Primicias24.com; rather, Dynadot.com is a company whose

business is to help hide the true identity of a website operator.37

        Oscar Garcia Mendoza is Accused of Plotting the
        Attempted Assassination of Several Venezuelan Government Officials

        220.     Plaintiffs’ Original Complaint makes numerous references to Garcia Mendoza

who was the President and Board Chairman of Banco Venezolano when the Florida Defamation

Suit was commenced. See Original Complaint, ¶¶ 6, 84-87, 92.

        221.     In an article originally published on September 23, 2013 on the U.S.-hosted

online “news” site Primicias24.com, Garcia Mendoza is accused of plotting to kill Miguel

Rodríguez Torres, a Major General in the Venezuelan Army and Director of the National




34
        Id.
35
         For instance, Primicias24.com regularly tweets about “news items” like Derwick Associates’ donations to
social causes. See, e.g., https://twitter.com/primicias24/status/250265614357233665 (tweet regarding Derwick
donation) (last accessed January 9, 2014).
36
        See http://www.whois.com/whois/primicias24.com (last accessed January 9, 2014).
37
         See Dynadot.com website, available at http://www.dynadot.com/domain/privacy.html (last accessed
January 9, 2014) (“When someone does a Whois lookup for your domain, your personal email address, phone
number, and mailing address are all replaced with Dynadot’s domain privacy contact information.”).


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Bolivarian Intelligence Service (SEBIN), as well as the Minister of the Interior, Justice and

Peace of Venezuela.38

         Alek Boyd is Accused of Contracting
         AIDS and Intentionally Spreading the Disease

         222.    In the Original Complaint, Plaintiffs reference Alek Boyd as one of several

authors who have published articles detailing allegations of improper payments by Defendants

and Derwick Associates in the securing of the energy-sector contracts. See Original Complaint,

¶ 79.

         223.    In an article originally published on September 28, 2013 on Primicias24.com,

Boyd was accused of contracting AIDS from a transsexual and deliberately spreading the disease

to various men and women around the world.39 On September 30, 2013, Primicias24.com

published another piece accusing Boyd of spreading AIDS and sleeping with “boys,” and in the

same piece defended the honor of Derwick Associates, characterizing the company as honest and

unfairly maligned by Boyd.40

         224.    Primicias24.com regularly re-publishes those smears, including tweets linking to

the articles. Indeed, Primicias24.com tweeted a link to the articles on Garcia Mendoza and Boyd

as late as November 13, 2013.

         A Banco Venezolano Shareholder
         and Director Suffers a Major Invasion of Privacy

         225.    Rafael Alfonzo (“Alfonzo”) was a defendant in the Florida Defamation Suit.

When that suit was commenced, he was a shareholder and director of Banco Venezolano.


38
         See Primicias24.com, available at http://primicias24.com/nacionales/oscar-garcia-mendoza-thor-
halvorssen-y-leopoldo-lopez-planean-asesinar-al-ministro-rodriguez-torres/ (last accessed January 9, 2014).
39
        See Primicias24.com, available at http://www.primicias24.com/actualidad/alek-boyd-has-aids/ (last
accessed January 9, 2014).
40
         See Primicias24.com, available at http://www.primicias24.com/nacionales/carlos-herrera-respuesta-al-
sicario-homosexual-y-enfermo-de-alek-boyd/ (last accessed January 9, 2014).


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          226.     On or about October 10, 2013, a video was posted on the website Vimeo.com

(and republished in a Panama-based newspaper) of Alfonzo.41 The video, captioned “My Little

Camera Sees Everything,” shows Mr. Alfonzo’s bedroom, and contains footage of Mr. Alfonzo

reading and sleeping. It appears that a spycam was placed in Mr. Alfonzo’s bedroom to

surreptitiously record him.

          227.     Upon information and belief, the smears and the other actions undertaken by

Primicias24.com were directed by Defendants, for the express purpose of undermining those

individuals whom Defendants believe to be critical of Defendants.


                                        FIRST CLAIM FOR RELIEF

                          Racketeer Influenced and Corrupt Organizations Act
                                          18 U.S.C. § 1962(c)

          228.     Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

227, inclusive, as if fully set forth herein.

          229.     Plaintiffs’ claims under the Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. §§ 1961-68 (“RICO”), are brought against each and every Defendant. Plaintiffs

Ambassador Reich and ORA are each “persons” with standing to sue within the meaning of 18

U.S.C. § 1964(c). Defendants Betancourt, Trebbau and D’Agostino are each a “person” within

the meaning of 18 U.S.C. § 1961(3) and § 1962(c) who each individually conducted, participated

in, engaged in, and operated and managed the affairs of various enterprises through a pattern of

racketeering activity.




41
          See Posting to Infodio, October 17, 2013, available at http://infodio.com/node/556 (last accessed January 9,
2014).


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       230.    Specifically, Defendants Betancourt, Trebbau and D’Agostino conducted,

participated in, and agreed to conspire to conduct the affairs of RICO Enterprises I, II, III, IV, V

and VI through a pattern of racketeering activity.

       231.    Defendants’ enterprises are based in the United States, and the activities of

Defendants’ enterprises affect interstate and foreign commerce. As described below, Defendants

operate and manage their enterprises through acts of racketeering in violation of the Travel Act,

18 U.S.C. § 1952(a) and (b); the Foreign Corrupt Practices Act, 15 U.S.C. §§ 78dd-1 et seq.; and

the federal wire fraud statute, 18 U.S.C. § 1343.


                             RICO Enterprise I – Derwick Associates

       232.    RICO Enterprise I (also referred to herein as “Derwick Associates”) is an

association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4) and consists of the

following members: Derwick Associates USA LLC and Derwick Associates Corporation, and

these entities’ predecessors, successors, assigns and affiliates. The members of Derwick

Associates have the common purpose of advancing and protecting the economic interests of

Betancourt, Trebbau and D’Agostino. The members of Derwick Associates are all related in that

they are all controlled, operated and managed by, or are the alter egos of Betancourt, Trebbau

and D’Agostino. Derwick Associates possesses sufficient longevity to achieve its purpose(s) in

that it has secured more than $1 billion in government contracts, continues to secure additional

government contracts, and continues to defend and advance the reputations and business

practices of its principals: Betancourt, Trebbau and D’Agostino.

       233.    As set forth above, Betancourt, Trebbau and D’Agostino were the founders,

officers, and managers of Derwick Associates, and at all relevant times have directed, controlled

and coordinated the activities of Derwick Associates from their New York offices and homes,



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including from 450 Park Avenue, New York, New York. Upon information and belief,

Betancourt, Trebbau and D’Agostino communicate with each other by phone, text messages and

e-mail on a daily basis and have done so for the duration of the racketeering activity alleged, and

have met often in New York and Florida.

       234.    Betancourt, Trebbau and D’Agostino agreed to and did conduct and participate in

the conduct of Derwick Associates’ affairs through a pattern of racketeering activity discussed

above, to wit, the solicitation and payment from the United States of Venezuelan officials for

purposes of securing energy-sector contracts, transmission of the ill-gotten gains via wire to and

from bank accounts in the United States, and the silencing, via wire fraud and other methods, of

those (like Ambassador Reich) who were critical of or otherwise posed an actual or perceived

threat to Derwick Associates’ illicit methods and who could expose their illegal scheme.

       235.    Pursuant to and in furtherance of their fraudulent scheme, and as discussed above,

Derwick Associates committed multiple related acts constituting violations of the Travel Act, 18

U.S.C. § 1952(a) and (b); the Foreign Corrupt Practices Act, 15 U.S.C. §§ 78dd-1 et seq.; and the

federal wire fraud statute, 18 U.S.C. § 1343.


                   RICO Enterprise II – Betancourt, Trebbau and D’Agostino

       236.    RICO Enterprise II, which is alleged in the alternative, is an association-in-fact

enterprise within the meaning of 18 U.S.C. § 1961(4) and consists of the following members:

Betancourt, Trebbau, D’Agostino, and non-party Convit-Guruceaga. The members of RICO

Enterprise II have the common purpose of advancing and protecting their personal mutual

economic interests and the business of Derwick Associates. The members of RICO Enterprise II

are all related in that they are all business partners, associates or colleagues seeking to secure

energy-sector contracts, including from the Venezuelan government, through Derwick



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Associates. RICO Enterprise II possesses sufficient longevity to achieve its purpose(s) in that it

has secured more than $1 billion in government contracts, continues to secure additional

government contracts, and continues to defend and advance the reputations and business

practices of Betancourt, Trebbau, D’Agostino, non-party Convit-Guruceaga and Derwick

Associates.

       237.    At all relevant times, Betancourt, Trebbau, D’Agostino and non-party Convit-

Guruceaga directed, controlled, operated, managed and coordinated the activities of RICO

Enterprise II from their New York offices and homes, including from 450 Park Avenue, New

York, New York. Upon information and belief, the members of RICO Enterprise II

communicate with each other by phone, text messages and e-mail on a daily basis and have done

so for the duration of the racketeering activity alleged, and have met often in New York and

Florida.

       238.    Betancourt, Trebbau, D’Agostino and non-party Convit-Guruceaga agreed to and

did conduct and participate in the conduct of the affairs of RICO Enterprise II through a pattern

of racketeering activity discussed above, to wit, the solicitation and payment from the United

States of Venezuelan officials for purposes of securing energy-sector contracts, transmission of

the ill-gotten gains via wire to and from bank accounts in the United States, and actions

constituting wire fraud.

       239.    Pursuant to and in furtherance of their fraudulent scheme, Defendants Betancourt,

Trebbau, D’Agostino, and non-party Convit-Guruceaga committed multiple related acts

constituting violations of the Travel Act, 18 U.S.C. § 1952(a) and (b), the Foreign Corrupt

Practices Act, 15 U.S.C. §§ 78dd-1 et seq., and the federal wire fraud statute, 18 U.S.C. § 1343.




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                       RICO Enterprise III – Betancourt and Trebbau

       240.    RICO Enterprise III, which is alleged in the alternative, is an association-in-fact

enterprise within the meaning of 18 U.S.C. § 1961(4) and consists of the following members:

Betancourt and Trebbau. The members of RICO Enterprise III have the common purpose of

advancing and protecting their personal mutual economic interests and the business of Derwick

Associates. The members of RICO Enterprise III are all related in that they are all business

partners, associates or colleagues seeking to secure energy-sector contracts, including from the

Venezuelan government, through Derwick Associates. RICO Enterprise III possesses sufficient

longevity to achieve its purpose(s) in that it has secured more than $1 billion in government

contracts, continues to secure additional government contracts, and continues to defend and

advance the reputations and business practices of Betancourt and Trebbau.

       241.    At all relevant times, Betancourt and Trebbau directed, controlled, operated,

managed and coordinated the activities of RICO Enterprise III from their New York offices and

homes including from 450 Park Avenue, New York, New York. Upon information and belief,

the members of RICO Enterprise III communicate with each other by phone, text messages and

e-mail on a daily basis and have done so for the duration of the racketeering activity alleged, and

have met often in New York and Florida.

       242.    Betancourt and Trebbau agreed to and did conduct and participate in the conduct

of the affairs of RICO Enterprise III through a pattern of racketeering activity discussed above,

to wit, the solicitation and payment from the United States of Venezuelan officials for purposes

of securing energy-sector contracts, transmission of the ill-gotten gains via wire to and from

bank accounts in the United States, and actions constituting wire fraud.

       243.    Pursuant to and in furtherance of their fraudulent scheme, Defendants Betancourt

and Trebbau committed multiple related acts constituting violations of the Travel Act, 18 U.S.C.


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§ 1952(a) and (b), the Foreign Corrupt Practices Act, 15 U.S.C. §§ 78dd-1 et seq., and the federal

wire fraud statute, 18 U.S.C. § 1343.

                                RICO Enterprise IV – Betancourt

       244.    RICO Enterprise IV, which is alleged in the alternative, consists of Betancourt, an

individual who constituted an enterprise within the meaning of 18 U.S.C. § 1961(4). Trebbau

and D’Agostino individually conducted, participated in, engaged in, and operated and managed

the affairs of Betancourt through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1962(c).

       245.    Trebbau and D’Agostino’s said pattern of racketeering activity consisted of

multiple related acts constituting violations of the Travel Act, 18 U.S.C. § 1952(a) and (b), the

Foreign Corrupt Practices Act, 15 U.S.C. §§ 78dd-1 et seq., and the federal wire fraud statute, 18

U.S.C. § 1343. In particular, as set forth above, Trebbau and D’Agostino, through Betancourt,

engaged in the solicitation and payment from the United States of Venezuelan officials for

purposes of securing energy-sector contracts, transmission of the ill-gotten gains via wire to and

from bank accounts in the United States, and actions constituting wire fraud.

                                  RICO Enterprise V – Trebbau

       246.    RICO Enterprise V, which is alleged in the alternative, consists of Trebbau, an

individual who constituted an enterprise within the meaning of 18 U.S.C. § 1961(4). Betancourt

and D’Agostino individually conducted, participated in, engaged in, and operated and managed

the affairs of Trebbau through a pattern of racketeering activity within the meaning of 18 U.S.C.

§ 1962(c).

       247.    Betancourt and D’Agostino’s said pattern of racketeering activity consisted of

multiple related acts constituting violations of the Travel Act, 18 U.S.C. § 1952(a) and (b), the




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Foreign Corrupt Practices Act, 15 U.S.C. §§ 78dd-1 et seq., and the federal wire fraud statute, 18

U.S.C. § 1343. In particular, as set forth above, Betancourt and D’Agostino, through Trebbau,

engaged in the solicitation and payment from the United States of Venezuelan officials for

purposes of securing energy-sector contracts, transmission of the ill-gotten gains via wire to and

from bank accounts in the United States, and actions constituting wire fraud.

                                RICO Enterprise VI – D’Agostino

        248.   RICO Enterprise VI, which is alleged in the alternative, consists of D’Agostino,

an individual who constituted an enterprise within the meaning of 18 U.S.C. § 1961(4).

Betancourt and Trebbau individually conducted, participated in, engaged in, and operated and

managed the affairs of D’Agostino through a pattern of racketeering activity within the meaning

of 18 U.S.C. § 1962(c).

        249.   Betancourt and Trebbau’s said pattern of racketeering activity consisted of

multiple related acts constituting violations of the Travel Act, 18 U.S.C. § 1952(a) and (b), the

Foreign Corrupt Practices Act, 15 U.S.C. §§ 78dd-1 et seq., and the federal wire fraud statute, 18

U.S.C. § 1343. In particular, as set forth above, Betancourt and Trebbau, through D’Agostino,

engaged in the solicitation and payment from the United States of Venezuelan officials for

purposes of securing energy-sector contracts, transmission of the ill-gotten gains via wire to and

from bank accounts in the United States, and actions constituting wire fraud.


                                   Predicate Acts – Travel Act

        250.   The Travel Act prohibits the use of interstate or foreign commerce to “promote,”

“manage,” or “carry on” unlawful activity. 18 U.S.C. § 1952(a). Bribery is a form of illegal

activity.




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        251.   As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino,

through RICO Enterprises I, II, III, IV, V and VI intentionally made and conspired to use the

mail and other facilities in interstate and foreign commerce; to promote, manage, establish, and

carry on, their unlawful activities (to wit, bribery in violation of the laws of the United States);

and thereafter performed additional acts in furtherance of the specified unlawful activities.

        252.   As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino,

through RICO Enterprises I, II, III, IV, V and VI intended to and did engage in unlawful

activities, namely, the bribery of Venezuelan public officials; Betancourt, Trebbau and

D’Agostino used wire communications (including communications via telephone) originating

from the United States and traveled to and from the United States and Venezuela to further their

pattern of racketeering activity; and Betancourt, Trebbau and D’Agostino accepted and

transmitted their ill-gotten gains to and from bank accounts in the United States, including

accounts at J.P. Morgan Chase Bank and Davos Financial Group.


                                      Predicate Acts – FCPA

        253.   The Foreign Corrupt Practices Act (“the FCPA”) prohibits a person from using

the U.S. mails or wires to bribe foreign officials to effectuate business. 15 U.S.C. §§ 78dd-1, et

seq.

        254.   As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino,

through RICO Enterprises I, II, III, IV, V and VI, knowingly and intentionally made and

conspired to make use of the instrumentalities of interstate commerce corruptly in furtherance of

offers and payments of money to Venezuelan public officials, knowing that such money was

offered and paid, to wrongfully influence such foreign officials in their official capacity in order




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to secure improper advantages to assist in obtaining business; to wit, the contracts described

above.

         255.   As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino

through RICO Enterprises I, II, III, IV, V and VI, used wire communications (including

communications via telephone, internet and e-mail) originating from the United States on

numerous occasions to further these U.S.-based fraudulent activities, and transmitted their ill-

gotten gains to and from bank accounts in the United States, including accounts at J.P. Morgan

Chase Bank and Davos Financial Group.


                                  Predicate Acts – Wire Fraud

         256.   As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino,

through RICO Enterprises I, II, III, IV, V and VI, intentionally and knowingly made and

conspired to make materially false statements, known by them to be false, to Cedeño, officials

from Banco Venezolano, and others, regarding Ambassador Reich and ORA; to wit, that

Ambassador Reich and ORA were personally and professionally associated with Derwick

Associates and/or its individual members, with the intent that Banco Venezolano, Cedeño and

others would rely on those false statements.

         257.   Betancourt, Trebbau and D’Agostino’s scheme to defraud was calculated to

deprive Ambassador Reich and ORA of large sums of money and property, and to destroy

Ambassador Reich’s and ORA’s business reputation and relationships with Cedeño and Banco

Venezolano, thereby obtaining an improper benefit for Betancourt, Trebbau and D’Agostino by

forever preventing the association of Ambassador Reich and ORA with Cedeño and Banco

Venezolano. The union of Ambassador Reich, Cedeño and Banco Venezolano would have been

fatal to Betancourt, Trebbau and D’Agostino’s ability to perpetuate their unlawful scheme. By



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taking steps to prevent that association, Betancourt, Trebbau and D’Agostino preserved their

ability to continue securing energy-sector contracts through improper means.

       258.    As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino,

through RICO Enterprises I, II, III, IV, V and VI, used wire communications (including

communications via telephone) in interstate commerce to further this fraudulent scheme in

violation of 18 U.S.C. § 1343, by relaying false information to Cedeño and Banco Venezolano

who relied upon said information to Plaintiffs’ harm.


                                 Pattern of Racketeering Activity

       259.    Betancourt, Trebbau and D’Agostino engaged in a pattern of racketeering activity

as described in this First Amended Complaint that began in 2009 and continued at least through

December 2012. Moreover, Betancourt, Trebbau and D’Agostino’s pattern of racketeering has

become a regular way in which Defendants conduct their ongoing business and poses a threat of

indefinite duration.

       260.    As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino

have committed at least two acts of racketeering activity in the past ten years; to wit, multiple

payments to Venezuelan officials in order to secure energy-sector contracts; multiple transfers of

illicitly derived funds to accounts in the United States; and multiple calls placed by telephone

from the United States in order to undermine the business of ORA, each as discussed in this First

Amended Complaint in violation of the federal wire fraud statute.

       261.    Upon information and belief, Betancourt, Trebbau and D’Agostino will continue

to make fraudulent statements and commit acts that constitute the basis of violations of the

Travel Act, the FCPA, and the federal wire fraud statute.




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          262.   Betancourt, Trebbau and D’Agostino, through RICO Enterprises I, II, III, IV, V

and VI, which are located in the United States, implemented the racketeering acts described in

this First Amended Complaint to conduct their regular business activities.


                                       Pattern – Relatedness

          263.   As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino’s

racketeering acts are related by a similar purpose, results, participants, victims, and methods of

commission, and are otherwise interrelated by distinguishing characteristics and are not isolated

events.

          264.   Betancourt, Trebbau and D’Agostino’s pattern of racketeering activities are united

by a common purpose, including but not limited to, securing monetary benefits for themselves in

the United States via the bribery of Venezuelan officials for purposes of securing energy-sector

contracts, and to cover up their illicit scheme by causing harm to those who would speak out or

work against it.

          265.   The common results of Betancourt, Trebbau and D’Agostino’s pattern of

racketeering activity is to secure contracts from the Venezuelan government, to reap ill-gotten

and unlawful rewards upon each individual Defendant and to cause harm, including economic

harm, to their critics.

          266.   Betancourt, Trebbau and D’Agostino’s pattern of racketeering acts have or had

similar participants: Betancourt, Trebbau, D’Agostino (both individually and as members of

Derwick Associates) and Convit-Guruceaga.

          267.   All of Betancourt, Trebbau and D’Agostino’s acts of racketeering cause injury to,

among others, those targeted by Betancourt, Trebbau and D’Agostino as threats to their

continuing ability to engage in their corrupt business practices.



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       268.    Betancourt, Trebbau and D’Agostino’s pattern of racketeering acts have or had

similar methods of commission – to wit: offers of money made by themselves, or their

intermediaries from the United States, to Venezuelan officials in exchange for government

energy-sector contracts, telephone calls to individuals or institutions (either made by themselves

or via intermediaries) to convey false information about the association of Ambassador Reich

and ORA with Derwick Associates, and the transmission of false information about other critics

of Derwick Associates.


                                       Pattern – Continuity

       269.    As set forth in the preceding paragraphs, Betancourt, Trebbau and D’Agostino’s

racketeering acts took place repeatedly over a substantial period of time, and threaten to repeat

themselves in the future.

       270.    Following Derwick Associates’ founding in 2009, Betancourt, Trebbau and

D’Agostino and their agents repeatedly engaged in behavior violating federal law, as described

in the preceding paragraphs, from 2009 until 2012. During that time period, Betancourt, Trebbau

and D’Agostino offered payments on at least twelve contracts in violation of 15 U.S.C. §§ 78dd-

1, and transferred the ill-gotten funds to the United States in violation of 18 U.S.C. § 1952(a) and

(b). Further, on no fewer than two occasions in 2012, Betancourt, Trebbau and D’Agostino and

their agents conspired to, and did in fact commit, wire fraud in violation of 18 U.S.C. § 1343 in

connection with their intention to harm Ambassador Reich and ORA and prevent any

investigation into their illicit scheme. Betancourt, Trebbau and D’Agostino’s acts of

racketeering were continuous to form a pattern of racketeering activity because they extended for

a substantial period of time.




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           271.   Betancourt, Trebbau and D’Agostino’s acts of racketeering are also sufficiently

continuous because the acts of racketeering activity evidence Betancourt, Trebbau and

D’Agostino’s ongoing and regular way of conducting Betancourt, Trebbau and D’Agostino’s

business. Further, the nature of Betancourt, Trebbau and D’Agostino’s acts themselves imply a

threat of continued criminal action, as Betancourt, Trebbau and D’Agostino intend to continue to

violate 15 U.S.C. §§ 78dd-1, 18 U.S.C. § 1952(a) and (b), and 18 U.S.C. § 1343 to effectuate

their scheme, particularly in regards to forthcoming CORPOELEC contracts to construct power

plants and buy various energy-related goods and services, as alleged in the preceding paragraphs,

and Betancourt, Trebbau and D’Agostino plan to continue taking actions to keep others

(including Ambassador Reich and ORA) from speaking out against them or seeking to thwart

their illegal activities in that regard.

           272.   There can be no suggestion that Defendants do not intend to continue to engage in

the illicit pattern of racketeering activity, which is the subject of Plaintiffs’ claims. In addition to

retaining a United States-based lobbying firm in or about December 2013, on January 10, 2014,

Defendants issued a press release stating that they are looking to expand their business

operations in Spain and will also continue to do business in Venezuela should the opportunity

arise.42


                                                    Injury

           273.   As a direct and proximate result of, and by reason of, the activities of Betancourt,

Trebbau, and D’Agostino, and their conduct in violation of 18 U.S.C. § 1962(c), Plaintiffs were

injured in their business or property, within the meaning of 18 U.S.C. § 1964(c). Among other

things, Plaintiffs suffered the loss of existing and future business relationships and contracts with

42
        Available at http://m.prnewswire.com/news-releases/derwick-associates-continues-to-meet-the-needs-of-
the-venezuelan-people-239623871.html (last accessed January 12, 2014).


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Eligio Cedeño and Banco Venezolano, and the loss of property, contracts and the revenue to be

derived therefrom, in an amount to be determined at trial but not less than $2,000,000 plus treble

damages, attorneys’ fees and the costs in bringing this action.


                                 SECOND CLAIM FOR RELIEF

                       Racketeer Influenced and Corrupt Organizations Act
                                       18 U.S.C. § 1962(d)

        274.    Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

273, inclusive, as if fully set forth herein.

        275.    Trebbau and/or D’Agostino conspired with Betancourt to conduct or participate,

directly or indirectly, in the conduct of the affairs of RICO Enterprises I, II, III, IV, V and/or VI,

through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). In particular,

Trebbau and/or D’Agostino intended to further an endeavor of Betancourt which, if completed,

would satisfy all of the elements of a substantive RICO criminal offense (18 U.S.C. § 1962(c))

and adopted the goal of furthering or facilitating these criminal endeavors.

        276.    In the alternative to Paragraph 275, Betancourt and/or D’Agostino conspired with

Trebbau to conduct or participate, directly or indirectly, in the conduct of the affairs of RICO

Enterprises I, II, III, IV, V and/or VI, through a pattern of racketeering activity in violation of 18

U.S.C. § 1962(d). In particular, Betancourt and/or D’Agostino intended to further an endeavor

of Trebbau which, if completed, would satisfy all of the elements of a substantive RICO criminal

offense (18 U.S.C. § 1962(c)) and adopted the goal of furthering or facilitating these criminal

endeavors.

        277.    In the alternative to Paragraphs 275 and 276, Betancourt and/or Trebbau

conspired with D’Agostino to conduct or participate, directly or indirectly, in the conduct of the

affairs of RICO Enterprises I, II, III, IV, V and/or VI, through a pattern of racketeering activity


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in violation of 18 U.S.C. § 1962(d). In particular, Betancourt and/or Trebbau intended to further

an endeavor of D’Agostino which, if completed, would satisfy all of the elements of a

substantive RICO criminal offense (18 U.S.C. § 1962(c)) and adopted the goal of furthering or

facilitating these criminal endeavors.

        278.    Plaintiffs were injured by Betancourt’s, Trebbau’s and D’Agostino’s overt acts

that are acts of racketeering or otherwise unlawful under the RICO statute, which included acts

constituting violations of the Travel Act, 18 U.S.C. § 1952(a) and (b), the Foreign Corrupt

Practices Act, 15 U.S.C. §§ 78dd-1 et seq., and the federal wire fraud statute, 18 U.S.C. § 1343.

        279.    As a direct and proximate result of, and by reason of, the activities of Betancourt,

Trebbau, and D’Agostino, and their conduct in violation of 18 U.S.C. § 1962(d), Plaintiffs were

injured in their business or property, within the meaning of 18 U.S.C. § 1964(d). Among other

things, Plaintiffs suffered the loss of existing and future business relationships, property, and

contracts with Eligio Cedeño and Banco Venezolano, and the loss of property, contracts and

revenue to be derived therefrom, in an amount to be determined at trial but not less than

$2,000,000 plus treble damages, attorneys’ fees and costs in bringing this action.


                                   THIRD CLAIM FOR RELIEF

                   Tortious Interference with Prospective Economic Advantage
                                – ORA’s Relationship with Cedeño

        280.    Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

279, inclusive, as if fully set forth herein.

        281.    ORA had a long-standing business relationship with Cedeño, which continued

through 2012 and during which time he received payment for services provided.

        282.    ORA reasonably expected the business relationship to continue indefinitely.

        283.    Each Defendant knew of the business relationship between Cedeño and ORA.


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       284.     Each Defendant took steps to, and did, make or cause others to make false

statements to Cedeño concerning ORA and/or Ambassador Reich’s alleged association with

Derwick Associates and/or Defendants, with the purpose of inducing Cedeño to terminate the

business relationship, and to withhold future business from ORA.

       285.     Defendants did so through improper means, including but not limited to, making

knowingly false statements to Cedeño with the purpose of inflicting harm upon ORA;

specifically, the false statements were made with the purpose of denigrating ORA’s reputation

and the integrity of the business thereby causing Cedeño to terminate the business relationship,

and withhold any future business, from ORA.

       286.     Each Defendant is liable to ORA for the actions described herein, which were

undertaken in furtherance of an ongoing conspiracy among all Defendants, and each Defendant

took steps in furtherance of the conspiracy and each Defendant was aware that his co-

conspirators were taking these actions.

       287.     As a direct and proximate cause of Defendants’ wrongful interference with the

business relationship between ORA and Cedeño, Cedeño terminated his ongoing business

relationship with ORA and refused to do future business with ORA. But for Defendants’

wrongful interference, ORA’s relationship with Cedeño would have continued into the future.

       288.     ORA has suffered substantial damages as a result of Defendants’ unlawful

interference.

       289.     By reason of the foregoing, ORA is entitled to compensatory damages in an

amount to be determined at trial, but not less than $1,000,000.




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                                 FOURTH CLAIM FOR RELIEF

                   Tortious Interference with Prospective Economic Advantage
                          – ORA’s Relationship with Banco Venezolano

         290.   Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

289, inclusive, as if fully set forth herein.

         291.   In December 2012, ORA was in final negotiations with Banco Venezolano to

enter into a consulting relationship. That relationship was to pay ORA no less than $20,000 per

month.

         292.   ORA had a reasonable expectation that a written contract would be memorialized

pursuant to its already-negotiated terms.

         293.   Each Defendant knew of the relationship between ORA and Banco Venezolano,

and knew that those parties were in final negotiations to memorialize their consulting

relationship.

         294.   Defendants Betancourt and Trebbau, with the agreement of Defendant

D’Agostino, took steps to, and did, make false statements to officials of Banco Venezolano, with

the purpose of inducing it to terminate its business agreement, and to withhold future business

from ORA.

         295.   Defendants made false statements to Banco Venezolano with the purpose of

inflicting harm upon ORA; specifically, the false statements were made with the purpose of

causing Banco Venezolano to terminate negotiations with ORA, and withhold future business

from ORA, thereby causing ORA substantial economic damage.

         296.   Each Defendant is liable to ORA for the actions described herein, which were

undertaken in furtherance of an ongoing conspiracy among all Defendants, and each Defendant




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took steps in furtherance of the conspiracy and each Defendant was aware that his co-

conspirators were taking these actions.

        297.    Defendants’ actions wrongfully interfered with ORA’s relationship with Banco

Venezolano.

        298.    As a direct and proximate cause of Defendants’ wrongful interference with the

business relationship between ORA and Banco Venezolano, Banco Venezolano terminated its

arrangement with ORA and refused to do future business with ORA. But for Defendants’

wrongful interference, ORA’s agreement with Banco Venezolano would have been

memorialized and continued into the future.

        299.    ORA has suffered substantial damages as a result of Defendants’ unlawful

interference.

        300.    By reason of the foregoing, ORA is entitled to compensatory damages in an

amount to be determined at trial, but not less than $1,000,000.


                                   FIFTH CLAIM FOR RELIEF

                           Trade Libel/Injurious Falsehood/Defamation

        301.    Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

300, inclusive, as if fully set forth herein.

        302.    Defendants knowingly published false and derogatory statements about ORA,

including that ORA was in business with disreputable individuals and entities, i.e., Defendants

Betancourt, Trebbau, D’Agostino, and Derwick Associates. Defendants knew or should have

known that these statements were false and that the false statements would denigrate ORA’s

reputation and discourage others from dealing with ORA.




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       303.    The false and defamatory statements concerning ORA constitute defamation

and/or defamation per se.

       304.    Defendants published these false statements of fact to third persons with the

purpose of inflicting harm upon ORA; specifically, the false statements were published with the

purpose of ruining ORA’s business reputation, impugning the integrity of the business and

causing clients to terminate their business agreements with, and potential clients to withhold

future business from, ORA.

       305.    Individuals and entities, namely Cedeño and Banco Venezolano, did in fact

terminate their business relationships with ORA and/or refuse to do business with ORA because

of Defendants’ false statements. But for Defendants’ actions those relationships would have

continued and ORA’s business reputation would not have been damaged.

       306.    Defendants’ false and defamatory statements concerning ORA were made

maliciously, knowingly, willfully and in conscious disregard of ORA’s rights, and were

specifically intended to – and did – cause damage to ORA’s reputation and business.

       307.    Each Defendant is liable to ORA for the actions described herein, which were

undertaken in furtherance of an ongoing conspiracy among all Defendants, and each Defendant

took steps in furtherance of the conspiracy and each Defendant was aware that his co-

conspirators were taking these actions.

       308.    As a direct and proximate cause of Defendants’ wrongful conduct, ORA has

suffered, and continues to suffer, substantial damages as a result of Defendants’ defamatory

statements.

       309.    By reason of the foregoing, ORA is entitled to compensatory and punitive

damages in an amount to be determined at trial but not less than $2,000,000.




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                                   SIXTH CLAIM FOR RELIEF

                                  Defamation of Ambassador Reich

        310.    Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

309, inclusive, as if fully set forth herein.

        311.    Defendants knowingly published false and defamatory statements about

Ambassador Reich, including that Ambassador Reich is personally and professionally associated

with, and does business with, disreputable individuals and entities, i.e., Defendants Betancourt,

Trebbau, D’Agostino, and Derwick Associates.

        312.    The false and defamatory statements concerning Ambassador Reich constitute

defamation and/or defamation per se.

        313.    The false and defamatory statements published by Defendants, as reasonably

understood, impugn the integrity, credibility and reputation of Ambassador Reich, and

discourage individuals and entities, including potential clients, from associating with him and/or

seeking his services, thus injuring him in his business, ORA.

        314.    Defendants knowingly and willfully published the false statements of fact with

the purpose of inflicting harm upon Ambassador Reich. By publishing and disseminating the

false statements, Defendants intended to besmirch Ambassador Reich’s good name and

reputation in the community and cause others to terminate their business and other relationships

with him and refuse to be associated with him.

        315.    Defendants knew or reasonably should have known that the statements were false

at the time they were published, and continue to be false today, and Defendants have no evidence

to the contrary.

        316.    The false and defamatory statements concerning Ambassador Reich were made

maliciously, knowingly, willfully and in conscious disregard of Ambassador Reich’s rights, and


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were specifically intended to – and did – cause damage to Ambassador Reich’s character,

reputation and business. But for Defendants’ actions, Ambassador Reich’s character, reputation

and business would not have been damaged.

        317.    Each Defendant is liable to ORA for the actions described herein, which were

undertaken in furtherance of an ongoing conspiracy among all Defendants, and each Defendant

took steps in furtherance of the conspiracy and each Defendant was aware that his co-

conspirators were taking these actions.

        318.    As a direct and proximate cause of Defendants’ wrongful conduct, Ambassador

Reich has suffered, and continues to suffer, substantial damages as a result of Defendants’

defamatory statements.

        319.    By reason of the foregoing, Ambassador Reich is entitled to compensatory and

punitive damages in an amount to be determined at trial.


                                SEVENTH CLAIM FOR RELIEF

                                           Civil Conspiracy

        320.    Plaintiffs repeat and re-allege the allegations set forth in Paragraphs 1 through

319, inclusive, as if fully set forth herein.

        321.    Each of the Defendants, together with the others, conspired with respect to Counts

II through V and acted in concert to commit unlawful acts, including acts of bribery, defamation

and tortious interference. Defendants conspired to engage in these actions with the unlawful

objective of interfering with ORA’s business relationships by impugning Ambassador Reich’s

integrity, credibility and reputation; undermining the confidence of ORA’s clients and

prospective clients; deterring ORA’s clients and prospective clients from using ORA’s services;

and injuring Ambassador Reich in his livelihood. Each of the Defendants understood the



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objectives of the scheme, and accepted them, and was an active and knowing participant in the

conspiracy.

       322.    Defendants’ conspiracy was implemented through the commission of various

wrongful and overt acts by each Defendant in furtherance of said conspiracy, including but not

limited to, publishing and disseminating false statements about Ambassador Reich and ORA and

committing other unlawful acts.

       323.    As a direct and proximate result of the operation and execution of the conspiracy

committed by Defendants, Plaintiffs have suffered and continue to suffer substantial damages.

       324.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages in an

amount to be determined at trial, but not less than $2,000,000.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that the Court enter judgment against Defendants as

follows:

   a. Awarding compensatory damages in an amount to be determined at trial but not less than

       $2,000,000;

   b. Awarding treble damages as authorized by 18 U.S.C. § 1964;

   c. Awarding punitive damages in an amount to be determined at trial;

   d. Awarding Plaintiffs their costs and disbursements plus attorneys’ fees; and

   e. Granting such other relief as the Court deems just and proper.




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Dated: New York, New York
       January 13, 2014
                                         Respectfully submitted,

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